        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 1 of 100


                                                             LawClerk:Anderson, SEALED, TERMINATED,
                              U.S. District Court
                       District of Oregon (Portland (3))
            CIVIL DOCKET FOR CASE : 3:16−cv−02065−YY *SEALED*

United States of America et al v. Universal Health Services, Inc.   Date Filed: 10/27/2016
et al                                                               Date Terminated: 07/06/2017
Assigned to: Magistrate Judge Youlee Yim You                        Jury Demand: Plaintiff
Cause: 31:3729 False Claims Act                                     Nature of Suit: 376 Qui Tam (31 U.S.C. §
                                                                    3729(a))
                                                                    Jurisdiction: U.S. Government Plaintiff
Plaintiff
United States of America                          represented by Alexis Lien
ex rel Carrie Eborall                                            U.S. Attorney's Office, District of Oregon
                                                                 1000 SW Third Avenue
                                                                 Suite 600
                                                                 Portland, OR 97204
                                                                 503−727−1098
                                                                 Fax: 503−727−1117
                                                                 Email: alexis.lien@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
Carrie Eborall                                    represented by Brian H. Mahany
                                                                 Mahany Law
                                                                 8112 West Bluemound Road
                                                                 Suite 101
                                                                 Wauwatosa, WI 53213
                                                                 414−258−2375
                                                                 Fax: 414−777−0776
                                                                 Email: brian@mahanylaw.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                    Russell D. Garrett
                                                                    Jordan Ramis, P.C.
                                                                    Two Centerpointe Drive, 6th Floor
                                                                    Lake Oswego, OR 97035
                                                                    503−598−5519
                                                                    Fax: 503−598−7373
                                                                    Email: russ.garrett@jordanramis.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Roger A. Lenneberg
                                                                    Jordan Ramis, P.C.
                                                                    Two Centerpointe Drive, 6th Floor
                                                                                                          Page 1
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 2 of 100


                                                                Lake Oswego, OR 97035
                                                                503−598−7070
                                                                Fax: 503−598−7373
                                                                Email: roger.lenneberg@jordanramis.com
                                                                ATTORNEY TO BE NOTICED


V.
Defendant
Universal Health Services, Inc.

Defendant
Cedar Hills Hospital

Defendant
UBH of Oregon, LLC
Email All Attorneys

 Date Filed     #     Page Docket Text
 10/27/2016     1        4 Complaint. Filing fee in the amount of $400 collected. Receipt No. 69784. Jury
                           Trial Requested: Yes. Filed by Carrie Eborall against Cedar Hills Hospital,
                           UBH of Oregon, LLC, Universal Health Services, Inc. (Attachments: # 1
                           Exhibits To Complaint, # 2 Civil Cover Sheet). (cib) (Entered: 10/31/2016)
 10/27/2016     2      66 Motion to Seal the Case. Filed by Carrie Eborall. (Attachments: # 1
                          Memorandum In Support) (cib) (Entered: 10/31/2016)
 10/27/2016     3      70 Notice of Case Assignment to Magistrate Judge Youlee Yim You and
                          Discovery and Pretrial Scheduling Order. NOTICE: Counsel shall print and
                          serve the summonses and all documents issued by the Clerk at the time of
                          filing upon all named parties in accordance with Local Rule 3−5. Discovery
                          is to be completed by 2/24/2017. Joint Alternate Dispute Resolution Report is
                          due by 3/27/2017. Pretrial Order is due by 3/27/2017. Ordered by Magistrate
                          Judge Youlee Yim You. (cib) (Entered: 10/31/2016)
 10/27/2016     4      77 Motion for Leave to Appear Pro Hac Vice for Attorney Brian H. Mahany.
                          Filing fee in the amount of $300 collected; Receipt No.: 69785. Filed by Carrie
                          Eborall. (ecp) (Entered: 10/31/2016)
 11/01/2016     5      81 ORDER: Granting Application for Special Admission Pro Hac Vice of Brian
                          H. Mahany for Carrie Eborall. Application Fee in amount of $300 collected.
                          Receipt No. 69785 issued. Signed on 11/1/2016 by Magistrate Judge Youlee
                          Yim You. (ecp) (Entered: 11/01/2016)
 11/01/2016     6      85 Notification of CM/ECF Account for Brian H. Mahany (Pro Hac Vice
                          admission). Your login is: bhmahany. Go to the CM/ECF login page to set
                          your password. (ecp) (Entered: 11/01/2016)
 11/03/2016     7      86 Clerk's Notice of Mailing regarding Notification of New CM/ECF Account, 6
                          emailed to attorney Brian Mahany. Order on Application for Special Admission
                          Pro Hac Vice, 5 emailed to all parties. (ecp) (Entered: 11/03/2016)
                                                                                                     Page 2
      Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 3 of 100



11/04/2016    8   87 ORDER by Magistrate Judge Youlee Yim You: GRANTING Motion to Seal
                     the Case (# 2 ). (eo) (Entered: 11/04/2016)
11/04/2016    9   88 Clerk's Notice of E−Mail service: Notice of the order granting motion to seal
                     case (# 8 ) was e−mailed to plaintiff's counsel. (eo) (Entered: 11/04/2016)
01/10/2017   12   89 Clerk's Notice of emailing to Alexis A. Lien regarding Exparte, Order on
                     motion for extension of time, Order on Motion − Miscellaneous 11 . (pvh)
                     (Entered: 01/10/2017)
06/30/2017   13   90 Unopposed Motion to Transfer Venue. Filed by United States of America. (cib)
                     (Entered: 07/05/2017)
07/05/2017   14   99 ORDER TRANSFERRING VENUE. Signed on 7/5/2017 by Magistrate
                     Judge Youlee Yim You. (pvh) (Entered: 07/06/2017)




                                                                                                Page 3
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 1 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 4 of 100




Russell D. Garrett, OSB # 882111
E-mail: russ. garrett@j ordanramis. com
Roger A. Lenneberg, OSB # 842733
E-mail: roger. lenne berg@j ordanramis. com
JORDAN RAMIS PC
Attorneys at Law
Two Centerpointe Dr 61h Flr
Lake Oswego OR 97035
Telephone: (503) 598-7070
       Attorneys for Plaintiff Carrie Eborall




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

UNITED STATES OF AMERICA, ex rel.                     Case No. 3
                                                                     _. 16 _ t1/- z.L?65-Y                     Y
CARRIE EBORALL,
                                                      COMPLAINT
               Plaintiff,                             Claims Pursuant to the False Claims
                                                      Act, 31 USC sec. 3730
       V.

UNIVERSAL HEALTH SERVICES, INC.;                      Jury Trial Demanded- Filed Under
CEDAR HILLS HOSPITAL; and UBH OF                      Seal 31 U.S.C. § 3730(b)(2)
OREGON, LLC,

               Defendants.                            [FILED IN CAMERA AND UNDER
                                                      SEAL]



       The United States of America, by and through qui tam originating relator Carrie Eborall

("Relator" or "Eborall"), hereby brings this action pursuant to the False Claims Act ("FCA"), as

amended, 31 U.S.C. § 3729 et seq., by and through her attorneys, Brian H. Mahany and the Law

Firm of Mahany Law, and hereby declares the following to recover all damages, penalties, and

other remedies available as established by the FCA, which damages were caused by Defendants'


Page 1 - COMPLAINT                                                     53518-75290 2./30986_1.RMH JO 27 2016




                                                                                                          Page 4
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 2 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 5 of 100




repeated and deliberate submissions of false, fraudulent and intentionally deceptive records,

claims, statements and representations, used and caused to be made, used and relied upon by the

United States Government under and through its Medicare, TRICARE, and other government

funded health care programs.

       As will be set forth with greater specificity below, the Defendants knowingly submitted

false claims to the federal government through its Medicare and TRICARE programs for

medically unnecessary services, including unnecessarily extending hospitalizations by up to five

times longer for a Medicare covered patient than a patient that had private insurance coverage.

This was done solely to increase the amount of government reimbursement payable to the

Defendants. Many of the claims for payment were fabricated or were falsified in order to obtain

payments that the Defendants were not entitled to receive.

                                           THE PARTIES

       1. Plaintiff is the United States of America.

       2.      Plaintiff-Relator Carrie Eborall ("Eborall") is an Oregon resident and was

previously employed at Cedar Hills in the utilization review department. She worked

continuously for Cedar Hills from approximately March 2011 through March 2015. As a result

of her employment at Cedar Hills, Relator witnessed the fraud alleged in this Complaint and is

the original source of this information.

       3.      Cedar Hills Hospital ("Cedar Hills") is a hospital that is located at 10300 SW

Eastridge Street, Portland, Oregon 97225. Its authorized representative is Steve Page, who is

located at 280 Madison Avenue, Suite 305, New York, New York 10016. Its registered name is

UBH of Oregon, LLC, which is located at 10300 SW Eastridge Street, Portland, Oregon 97225.

       4.      Defendant Universal Health Services, Inc. ("UHS") is a holding company that

operates through its subsidiaries including its management company, UHS of Delaware, Inc. It is

located in Pennsylvania. UHS operates more than 240 acute care hospitals, behavioral health

Page 2 - COMPLAINT                                                      5351s-15290 wo986_1'.RMH1027 2016




                                                                                                       Page 5
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 3 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 6 of 100




facilities, and ambulatory centers. UHS owns Cedar Hills.

        5.      Defendant UBH or Oregon, LLC is a Delaware limited liability company. Its

principal place of business is 10300 SW Eastridge Street, Portland, Oregon 97725 and its

registered agent is CT Corporation System, which is located at 388 State Street, Suite 420,

Salem, Oregon 97301. Upon information and belief, UHS is the sole owner ofUBH of Oregon,

LLC and Cedar Hills Hospital.

        6.      Upon information and belief, UBH of Oregon, LLC operates as Cedar Hills.

        7.      Cedar Hills was previously owned and operated by Ascend Health Corporation.

At the time UHS acquired Ascend Health Corporation, Ascend operated nine psychiatric

facilities, including Cedar Hills.

        8.      Cedar Hills is a for-profit hospital and provides acute hospitalization for

behavioral health issues.

        9.      All of the Defendants have benefitted from the pattern and practices stated below.

                                     JURISDICTION AND VENUE

        10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331and31U.S.C.§3732, the latter of which specifically confers jurisdiction on this

Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. Plaintiff-Relator establishes

subject matter jurisdiction under 31 U.S.C. § 3730(b).

        11.     This Court has jurisdiction over the Defendants and is a proper venue pursuant to

and 31U.S.C.§3732(a). Defendants UBH of Oregon, LLC and Cedar Hill's principal place of

business is in this District.

        12.     Venue is proper in this District as a substantial part of the events or omissions

giving rise to the claim occurred and Cedar Hill's and UBH of Oregon, LLC are located in this

District. 28 U.S.C. § 139l(b).



Page 3 - COMPLAINT                                                        53518-75290 2./30986_1 RMH /0127 2016




                                                                                                              Page 6
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 4 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 7 of 100




                               FEDERAL FALSE CLAIMS ACT

        13.    The False Claims Act, 31 U.S.C. §§ 3729-3733, provides, inter alia, that any

person who (1) "knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval," or (2) "knowingly makes, uses, or causes to be made or used, a false

record or statement material to a false or fraudulent claim," is liable to the United States for a

civil monetary penalty plus treble damages. 31 U.S.C. § 3729(a)(l)(A)-(B).

        14.    The terms "knowing" and "knowingly" are defined to mean "that a person, with

respect to information (1) has actual knowledge of the information; (2) acts in deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or

falsity of the information." 31 U.S.C. § 3729(b)(1 )(A)(i)-(iii). Proof of specific intent to defraud

is not required. 31 U.S.C. § 3729(b)(l)(B).

        15.    The term "claim" means "any request or demand, whether under a contract or

otherwise, for money or property and whether or not the United States has title to the money or

property, that (1) is presented to an officer, employee, or agent of the United States; or (2) is

made to a contractor, grantee, or other recipient, if the money or property is to be spent or used

on the Government's behalf or to advance a Government program or interest, and if the United

States Government (a) provides or has provided any portion of the money or property requested

or demanded; or (b) will reimburse such contractor, grantee, or other recipient for any portion of

the money or property which is requested or demanded .... " 31 U.S.C. § 3729(b)(2)(A)(i)-(ii).

        16.    "[T]he term 'material' means having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property." 31 U.S.C. § 3729(b)(4).

        17.    Private citizens, such as Eborall, are allowed to bring actions on the government's

behalf. "( 1) A person may bring a civil action for a violation of section 3729 for the person and

for the United States Government. The action shall be brought in the name of the Government."

31 U.S.C.A. § 3730(b)(l).

Page 4 - COMPLAINT                                                         53518-75290 2-130986_1\RMH10127 2016




                                                                                                             Page 7
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 5 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 8 of 100




       18.     Under 31U.S.C.A.§3730 (e), there has been no statutory relevant public

disclosure of the allegation or transactions in this Complaint with respect to which Plaintiff-

Relator Eborall is not an "original source," and all material information relevant to this

Complaint was provided to the United States Government prior to filing her Complaint pursuant

to 31U.S.C.A.§3730(e)(4)(B).

       19.     As will be described below, the Defendants submitted false and/or fraudulent

claims for payment to Medicare, TRICARE, and other government healthcare programs.

                                           MEDICARE

       20.     The Medicare program was enacted in 1965 and the Secretary of Health and

Human Services regulates the administration of the program through the Centers for Medicare

and Medicaid Services ("CMS"). See 42 C.F.R. 422.503(a). It is codified at Title XVIII of the

Social Security Act, 42 U.S.C. § 1395, et seq.

       21.     Medicare is the federal health insurance program for people who are 65 or older,

certain younger people with disabilities, and people with End-Stage Renal Disease. What's

Medicare, CMS, last visited September 13, 2016, https://www.medicare.gov/sign-up-change-

plans/decide-how-to-get-medicare/whats-medicare/what-is-medicare .html

       22.     Medicare is made up of four component Parts: Part A, Part B, Part C, and Part D.

       23.     Medicare Part A provides hospital and facility coverage, Part B provides medical

insurance, Part Callows private insurers to provide Medicare benefits that include Original

Medicare benefits under Parts A and B and additional coverages as well, and Part D provides

prescription drug coverage. Parts A and B are known as Original Medicare and are fully

administered by the federal government. Under Part C, Medicare pays a HMO a monthly, flat fee

for each of its enrolled beneficiaries. The monthly fees provide reimbursement for the services

provided.



Page 5 - COMPLAINT                                                       53518-75290 2430986_1 IRMH J0,27 2016




                                                                                                            Page 8
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 6 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 9 of 100




       24.     Medicare consists of both Fee-For-Service and managed care services. Fee-for-

service ("FFS") claims are submitted to a Medicare Administrative Contractor (MAC). CMS

relies on a network of MA Cs to serve as the primary operational contact between the Medicare

FFS program and the health care providers enrolled in the program. MACs are multi-state,

regional contractors responsible for administering both Medicare Part A and Medicare Part B

claims. What Is A MAC, CMS, last updated February 5, 2016,

https://www.cms.gov/Medicare/Medicare-Contracting/Medicare-Administrative-

Contractors/What-is-a-MAC .html

       25.     Collectively, the MACs process more than 1.2 billion Medicare FFS claims

annually, of which 210 million are Part A claims and more than 1 billion are Part B claims, for a

total of $367 billion in Medicare benefits. What Is A MAC, CMS, last updated February 5, 2016,

https://www.cms.gov/Medicare/Medicare-Contracting/Medicare-Administrative-

Contractors/What-is-a-MAC.html

       26.     Part C subsidizes Medicare beneficiaries' enrollment in an HMO. Part C is

subject to the False Claims Act because government funds are used to advance a federal program

or interest and these expenses inflate the HMO's costs, which leads to increased monthly

payments. 31 U.S.C.A. § 3729(b)(2).

       27.     Medicare only pays providers for services that are medically necessary and that

are reasonable. 42 U.S.C.A. § 1395y(a)(l)(A).

       28.     When submitting claims to Medicare, all providers must certify that the claims are

truthful, accurate, and medically necessary.

       29.     To participate in the Medicare Program, providers enter into provider agreements

with the Secretary of the Health and Human Services. The provider agreement requires the

provider to agree to conform to all applicable statutory and regulatory requirements for

reimbursement from Medicare, including the provisions of Section 1862 of the Social Security

Page 6 - COMPLAINT                                                     53518-75290 2./30986_1',RMH10127 2016




                                                                                                           Page 9
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 7 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 10 of 100




Act and Title 42 of the Code of Federal Regulations. As part of that agreement, the provider

must sign the following certification:

               I agree to abide by the Medicare laws, regulations and
               program instructions that apply to [me]. The Medicare
               laws, regulations, and program instructions are available
               through the [Medicare] contractor. I understand that
               payment of a claim by Medicare is conditioned upon the
               claim and the underlying transaction complying with
               such laws, regulations, and program instructions
               (including, but not limited to, the Federal anti-kickback
               statute and the Stark law), and on the [provider's]
               compliance with all applicable conditions of participation
               in Medicare.

Form CMS-855A; Form CMS-8551.

       30.     Among the legal obligations of participating providers is the requirement not to

make false statements or misrepresentations of material facts concerning payment requests. See

42 U.S.C. § 1320a-7b(a)(l)-(2); 42 C.F.R. §§ 1320a-7b(a)(l)-(2), 413.24(f)(4)(iv).

       31.     Medicare professional claims are submitted on Form HCFA-1500 and ASC X12N

837P. As part of the form, Providers must certify to the accuracy and truthfulness of the claims

submitted. The Form also provides that "NOTICE: Any person who knowingly files a statement

of claim containing any misrepresentation or any false, incomplete or misleading information

may be guilty of a criminal act punishable under law and may be subject to civil penalties." The

Medicare Provider's Certification provides:

               I certify that the services shown on this form were
               medically indicated and necessary for the health of the
               patient and were personally furnished by me or were
               furnished incident to my professional service by my
               employee under my immediate personal supervision,
               except as otherwise expressly permitted by Medicare or
               CHAMPUS regulations.

Page 7 - COMPLAINT                                                     53518-75290 2./30986 I RMH J0/27 2016




                                                                                                         Page 10
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 8 of 33
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 11 of 100




                For services to be considered as "incident" to a
                physician's professional service, 1) they must be
                rendered under the physician's immediate personal
                supervision by his/her employee, 2) they must be an
                integral, although incidental part of a covered physician's
                service, 3) they must be of kinds commonly furnished in
                physician's offices, and 4) the services of nonphysicians
                must be included on the physician's bills.

See Health Insurance Claim Form HCFA-1500. A copy of Form HCFA-1500 is attached hereto

as Exhibit A.

       32.      Therefore, all Medicare providers certify that the services they bill for are

accurate, truthful, were actually provided, and were medically necessary.

       33.      Hospitals submit claims on Form CMS-1450 and ASC X12N 8371, which are also

known as Form UB-04. Each claim submission made by a hospital certifies that the billing

information is accurate, true and complete. The form further certifies that the "Physician's

certifications and re-certifications, ifrequired by contract or Federal regulations, are eon file."

The form is used for both Medicare and TRI CARE claims. A copy of CMS Form 1450/UB-04 is

attached hereto as Exhibit B.

                                             TRI CARE

       34.      TRICARE is the health program for uniformed service members and their

families provided by the United States Department of Defense. It is managed by the Defense

Health Agency ("DHA"). TRICARE, About Us, http://www.tricare.mil/About (last updated: July

19, 2016.)

       35.      TRICARE provides comprehensive coverage to all beneficiaries, including

necessary mental health care. TRICARE covers acute inpatient psychiatric care. TRICARE,

Acute Inpatient Psychiatric Care,

http://www.tricare.mil/CoveredServices/IsltCovered/Prescriptions (last updated: June 23, 2016.)
Page 8 - COMPLAINT                                                        53518-75290 2./30986_1 \RMH J0.27 2016




                                                                                                            Page 11
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 9 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 12 of 100




       36.     Medicare and TRICARE are considered federal health care programs and only

pay for services that are reasonable and medically necessary.

     MEDICARE REGULATIONS FOR INPATIENT PSYCHIATRIC FACILITIES

       37.     Chapter Two of the Medicare Benefit Policy Manual outlines many of the rules

and guidelines that inpatient psychiatric facilities must follow to participate in the Prospective

Payment System (PPS). The regulations are also codified at 42 CFR 412. A copy of Chapter 2 is

attached hereto as Exhibit C.

       38.     Cedar Hills is an inpatient psychiatric facility (IPF).

       39.     "The term "inpatient psychiatric facility services" means inpatient hospital

services furnished to a patient of an inpatient psychiatric facility. IPFs are certified under

Medicare as inpatient psychiatric hospitals and distinct psychiatric units of acute care hospitals

and CAHs." CMS, Medicare Benefit Policy Manual, (Publication 100-02), Chapter 2 at 10.1,

http://www.ems.gov/Regulations-and-Guidance/ Guidance/Manuals/Internet-Only-Manuals-

10Ms-Items/CMSO 12673 .html; Exhibit C.

       40.     IPFs are certified under Medicare as inpatient psychiatric hospitals, which means,

"an institution that is primarily engaged in providing, by or under the supervision of a physician,

psychiatric services for the diagnosis and treatment of mentally ill patients, maintains clinical

records necessary to determine the degree and intensity of the treatment provided to the mentally

ill patient, and meets staffing requirements sufficient to carry out active programs of treatment

for individuals who are furnished care in the institution." Exhibit Cat 10.3, pp. 2-3.

       41.     A provisional or admitting diagnosis is required for all patients at IPFs. "For all

IPFs, a provisional or admitting diagnosis must be made on every patient at the time of

admission, and must include the diagnosis of comorbid diseases as well as the psychiatric

diagnosis. In addition, according to 42 CFR 412.27(a) and 42 CFR 482.61, distinct part

psychiatric units of acute care hospitals and CAHs are required to admit only those patients

Page 9 - COMPLAINT                                                         53518-75290 2./30986 I 1.RMH 10/27 2016




                                                                                                               Page 12
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 10 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 13 of 100




whose admission to the unit is required for active treatment, of an intensity that can be provided

appropriately only in an inpatient hospital setting, of a psychiatric principal diagnosis that is

listed in the Fourth Edition, Text Revision of the American Psychiatric Association's Diagnostic

and Statistical Manual, or in Chapter Five of the International Classification of Diseases

applicable to the service date. Psychiatric hospitals are required to be primarily engaged in

providing, by or under the supervision of a psychiatrist, psychiatric services for the diagnosis and

treatment of mentally ill persons, according to 42 CFR 412.23(a)." Exhibit Cat 20, pp. 3-4.

       42.     Medicare requires that the physician must certify "at the time of admission as

soon thereafter as is reasonable and practicable that the patient needs, on a daily basis, active

inpatient treatment furnished directly by or requiring the supervision of IPF [Inpatient

Psychiatric Facility] personnel." Department of Health and Human Services: CMS, Inpatient

Psychiatric Facility Prospective Payment System, October 2014, p. 2,

https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-

MLN /MLNProducts/downloads/InpatientPsychF ac. pdf.

       43.     The certification that a physician must provide, with respect to IPF services, is

"documentation that the services furnished can reasonably be expected to improve the patient's

condition or for diagnostic study. The certification is required at the time of admission or as soon

thereafter that is reasonable and practicable." Exhibit Cat 30.2.1.2, p. 5.

       44.     If the patient continues to "require active inpatient psychiatric treatment, then a

physician must recertify as of the 12th day of hospitalization ... that the services were and

continue to be required for treatment that could reasonably be expected to improve the patient's

condition, or for diagnostic study, and that the patient continues to need, on a daily basis, active

treatment furnished directly by or requiring the supervision of inpatient psychiatric facility

personnel. In addition, the hospital records should show that services furnished were intensive

treatment services, admission or related services, or equivalent services." Exhibit C at 30.2.1.2,

Page 10 - COMPLAINT                                                        53518-75290 2./30986_1RMH10/272016




                                                                                                           Page 13
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 11 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 14 of 100




pp. 5-6.

       45.        Active treatment was and is required in order to receive payment. "Payment for

IPF services is to be made only for "active treatment" that can reasonably be expected to improve

the patient's condition. To assure that payment is made only under such circumstances, the law

includes certain requirements that must be met before the services furnished in an IPF can be

covered, including medical necessity and certification." Exhibit Cat 30.2.2, pp. 6-7.

       46.        For services in an IPF to be designated as active treatment, they must be:

                  •Provided under an individualized treatment or diagnostic plan;

                  • Reasonably expected to improve the patient's condition or for the purpose of
                    diagnosis; and

                  • Supervised and evaluated by a physician.

           Exhibit Cat 30.2.2.1, p. 7; 42 CFR 482.61. The fact that a patient is under the supervision

of a physician does not necessarily mean the patient is getting active treatment.

           4 7.   Physician participation in the services is an essential ingredient of active

treatment. "The services of qualified individuals other than physicians, e.g., social workers,

occupational therapists, group therapists, attendants, etc., must be prescribed and directed by a

physician to meet the specific psychiatric needs of the individual. In short, the physician must

serve as a source of information and guidance for all members of the therapeutic team who work

directly with the patient in various roles. It is the responsibility of the physician to periodically

evaluate the therapeutic program and determine the extent to which treatment goals are being

realized and whether changes in direction or emphasis are needed. Such evaluation should be

made on the basis of periodic consultations and conferences with therapists, reviews of the

patient's medical record, and regularly scheduled patient interviews, at least once per week."

Exhibit C at 30.2.3, p. 8.




Page 11 - COMPLAINT                                                         53518-75290 2./30986_1 \RMH'J0/27.2016




                                                                                                              Page 14
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 12 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 15 of 100




       48.      The individual patient must have an individual and comprehensive treatment plan.

Exhibit Cat 30.3.1, p. 9. "The services must be provided in accordance with an individualized

program of treatment or diagnosis developed by a physician in conjunction with staff members

of appropriate other disciplines on the basis of a thorough evaluation of the patient's restorative

needs and potentialities. The plan of treatment must be recorded in the patient's medical record in

accordance with 42 CFR 482.61, Conditions of Participation for Hospitals." Exhibit Cat 30.3., p.

9.

       49.     The individual treatment plan must be written and include five different elements:

               (1) A substantiated diagnosis;

               (2) Short-term and long-range goals;

               (3) The specific treatment modalities utilized;

               (4) The responsibilities of each member of the treatment team; and

               (5) Adequate documentation to justify the diagnosis and the treatment and
                   rehabilitation activities carried out.

Exhibit Cat 30.3.1, p. 9.

        50.    The medical records "maintained by an IPF must permit determination of the

degree and intensity of the treatment provided to individuals who are furnished services in the

institution, according to 42 CFR 412.27 and 42 CFR 482.61. In addition, consistent with sound

clinical practice, all medical records, including progress notes and treatment plan, should be

legible and complete, and should be promptly signed and dated by the person (identified by name

and discipline) who is responsible for ordering, providing or evaluating the service furnished."

Exhibit C at 30, p. 4.

        51.    Payments to IPFs such as Cedar Hills are made on a per diem basis. "Payments to

IPFs under the IPF PPS are based on a single Federal per diem base rate computed from both the

inpatient operating and capital-related costs ofIPFs (including routine and ancillary services),

Page 12 - COMPLAINT                                                      53518-75290 2./30986 I \RMHi/0127 2016




                                                                                                           Page 15
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 13 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 16 of 100




but not certain pass-through costs (i.e., bad debts, direct graduate medical education, and nursing

and allied health education)." CMS, Medicare Claims Processing Manual (Publication 100-04),

Chapter 3 at 190.4, http://www.cms.gov/Regulations-and-Guidance/

Guidance/Manuals/Downloads/clm104c03.pdf. A copy of the relevant portions of Chapter 3 are

attached hereto as Exhibit D.

       52.     IPFs generally submit one claim per IPF patient and that claim is submitted after

discharge. "When the patient has Medicare benefits, IPF providers will submit one admit through

discharge claim for the stay upon discharge.' Exhibit D at 190.10.2.

       53.     IPFs are also allowed additional reimbursement amounts if they train interns and

residents. Exhibit D at 190.6.3, p. 18.

       54.     Although Medicare provides coverage for psychiatric hospital inpatient stays,

coverage is limited to 190 days. Exhibit Cat 80, p. 12; 42 CFR 409.62.

       55.     The per diem payment is adjusted based upon the number of days the patient is

admitted to the hospital. "The variable per diem adjustments account for the ancillary and certain

administrative costs that occur disproportionately in the first days after admission to an IPF. The

variable per diem adjustments decline each day of the patient's stay through day 21. After day

21, the adjustments remain the same each day for the remainder of the stay." Exhibit D at

190.5.5, pp. 16-17.

       56.     Medicare pays the full amount of the first 60 days of an inpatient hospitalization

during each benefit period. Following the 60th day of inpatient care, the Medicare covered

individual has a co-insurance payment. Once a covered individual is discharged and does not

receive inpatient care for 60 days in a row, a new benefit period begins. CMS, Your Medicare

Coverage, https://www.medicare.gov/coverage/hospital-care-inpatient.html (last visited: October

19, 2016.)

       57.     When submitting claims to Medicare, Cedar Hills and UHS are required to use

Page 13 - COMPLAINT                                                      5351s-15290 2-1Jo9s6_1IRMH10127 2016




                                                                                                          Page 16
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 14 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 17 of 100




HCPCS CPT Codes. In the inpatient setting, the initial CPT codes at time of admission are

99221, 99222, and 99223. 99223 is for the highest level of care and reimburses at the highest

rate. Although the codes are untimed, physicians generally spend 30, 50, and 70 minutes of care

respectively. The three codes are described as:


       99221-The three following components are required:

              • Detailed or comprehensive history
              •Detailed or comprehensive examination
              • Medical decision making that is straightforward or of low complexity
       Presenting problem(s): Low severity
       Typical time: 30 minutes at the bedside or on the patient's floor or unit


       99222-The three following components are required:

              • Comprehensive history
              • Comprehensive examination
              • Medical decision making of moderate complexity
       Presenting problem(s): Moderate severity
       Typical time: 50 minutes at the bedside or on the patient's floor or unit


       99223-The three following components are required:

              • Comprehensive history
              • Comprehensive examination
              • Medical decision making of high complexity
       Presenting problem(s): High severity
       Typical time: 70 minutes at the bedside or on the patient's floor or unit


Procedure Coding Handbook for Psychiatrists, Fourth Edition, p. 45.

       58.     Cedar Hills routinely admitted patients using CPT 99223 regardless of the

patient's actual condition and the treatment that was actually provided.

       59.     Subsequent hospital care during the inpatient hospitalization is coded as 99231,

99232, and 99233. 99233 is for the highest level of care and reimburses at the highest rate.



Page 14 - COMPLAINT                                                        53518-75290 2./30986_1',,RMH !Oi27 21116




                                                                                                               Page 17
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 15 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 18 of 100




Although the codes are untimed, physicians generally spend 15, 25, and 35 minutes of care

respectively. The three codes are described as follows:


        99231-Two of the three following components are required:

               • Problem-focused interval history
               •Problem-focused examination
               • Medical decision making that is straightforward or of low complexity
        Presenting problem(s): Patient usually stable, recovering, or improving
        Typical time: 15 minutes at the bedside or on the patient's floor or unit


        99232-Two of the three following components are required:

               •Expanded problem-focused interval history
               •Expanded problem-focused examination
               • Medical decision making of moderate complexity
        Presenting problem(s): Patient responding inadequately to therapy or has
        developed a minor complication
        Typical time: 25 minutes at the bedside or on the patient's floor or unit


        99233-Two of the three following components are required:

               • Detailed interval history
               • Detailed examination
               •Medical decision making of high complexity
        Presenting problem(s): Patient unstable or has developed a significant new
        Problem
        Typical time: 35 minutes at the bedside or on the patient's floor or unit


Id., at p. 50.

        60.      Cedar Hills routinely submitted claims using CPT 99233 regardless of the

patient's actual condition and the services that were rendered.

        61.      These are both per diem services. "Both Initial Hospital Care (CPT codes 99221 -

99223) and Subsequent Hospital Care codes are "per diem" services and may be reported only

once per day by the same physician or physicians of the same specialty from the same group

practice." CMS, Medicare Claims Processing Manual, Chapter 12: Physicians/Nonphysician

Page 15 - COMPLAINT                                                    53518-75290 2./30986_1 \RMH/0127 2016




                                                                                                         Page 18
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 16 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 19 of 100




Practitioners, p. 55, available at https://www.cms.gov/Regulations-and-

Guidance/Guidance/Manuals/Downloads/clm 104c 12.pdf.

        62.    Psychotherapy add-on codes were also billed in addition to 99233. These codes,

commonly 90832, 90834, and 90837, are timed codes. Medicare requires that the physician

providing the services actually treat the patient for the corresponding amount of time. For

example, these three codes, respectively, require treatment for 30, 45, and 60 or more minutes.

Relator is aware that physicians failed to spend the required time with patients yet claims were

submitted as if the treatment time was provided.

                                 FACTUAL BACKGROUND
       63.     Relator began her employment with Cedar Hills in approximately March 2011 as

a mental health technician. In March 2012, she transitioned into the utilization review

department for Cedar Hills. She worked in the utilization review department for approximately

three years.

        64.    As part of her job duties, Relator was a liaison between Cedar Hill's

Administration, physicians, and insurance companies. She contacted external case

managers/managed care organizations for certification and recertification of insurance benefits

throughout the patient's stay, assuring tracking of the insurance reviews, and completed reviews

in a timely manner.

       65.     Relator provided feedback to the treatment team in attempts to help them

understand an insurance company's requirements for continued stay and discharge planning. She

was responsible for having an understanding of the patient's treatment through communication

with the treatment team and maintained ongoing contact with the attending physician, program

manager, nurse manager, and various members of the team.

        66.    Cedar Hills tracked patient admissions and hospitalization on its "Midas" system.

The Midas system is the computer program/system used by UHS to track all patient admissions,

Page 16 - COMPLAINT                                                     5351s-15290 2-130986 11RMH1om 2016




                                                                                                       Page 19
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 17 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 20 of 100




payers, discharges, lengths of stay, denials, certified and uncertified days, doctor assignments,

etc. UHS runs all reports from the data in the Midas system and uses those reports in its required

daily, morning meetings.

       67.     At the meetings, reports are reviewed listing all patients in the hospital, all new

admissions, all discharges for the day, and all certified and uncertified days. These are reviewed

in detail by the CEO, CFO, Business Office Manager, the Nursing Supervisor, and UR staff. If

there are any patients that are denied insurance coverage or have run out of Medicare certified or

benefit days, the CEO and CFO will push everyone for a discharge that same day. The CEO

sends text messages to the doctors assigned to any patients that have had insurance benefits

denied or that are out of Medicare benefits and lets the doctor know about the denial. If a denied

patient remains in the hospital and is not discharged, the UR staff is harassed about it in every

morning meeting, until the patient is discharged. If there are too many discharges planned for the

day and not enough new admissions to fill those beds, again we were harassed and everyone is

supposed to find patients either willing to stay longer if they have Medicare or have the doctor

figure out a way to give more clinical for more days to be authorized by the insurance company.

       68.     UHS and Cedar Hills had a system in place that monitored Medicare covered

individuals' amount of days remaining for each benefit period. As soon at the patient got to 60

days of hospitalization per benefit period, they would discharge the patient as the reimbursement

would be less because of the co-insurance requirement.

       69.     Cedar Hills' management repeatedly told Relator that Medicare patients were the

most important patients to Cedar Hills due to the amount of reimbursement Cedar Hills received

from Medicare for the admitted patients. Relator believes that on average, approximately 50-75%

of all Cedar Hills' patients were Medicare beneficiaries and Relator is unaware of any time

where a majority of the admitted patients were covered by private insurance.



Page 17 - COMPLAINT                                                      53518-75290 2-130986_1 \RMHl027 2016




                                                                                                          Page 20
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 18 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 21 of 100




        70.    Relator noticed that when a person covered by private insurance would present to

Cedar Hills for treatment, Cedar Hills would inquire with the insurance company if the company

would pay for and authorize the services. If the insurance company would not authorize payment

for the services, Cedar Hills would deny admission to the person.

        71.    Privately insured persons required prior authorizations prior to being admitted. If

an authorization was obtained, the patient would be admitted, assuming there was a bed

available.

        72.    Cedar Hills tracked private insurance company's payment data and kept their

patients admitted so long as they thought the insurance company would pay. Cedar Hills would

discharge the patient when the company would no longer pay, even if the patient should not have

been discharged.

       73.     When a private insurance covered patient's authorization was expiring, some

physicians would increase a medication dosage or change a medication in an effort to obtain

additional authorized days from private insurance companies. Cedar Hills had a pharmacy on

site. The medication would have to be significant enough to warrant 24 hour monitoring in the

hospital setting. Additionally, some physicians would also say they were having a meeting with

the patient's family in order to get additional days authorized. Many of these so called meetings

never took place.

       A. Medicare Beneficiaries Were Automatically Admitted into Cedar Hills Hospital
          Regardless of Medical Necessity


       74.     Generally, Medicare beneficiaries do not require a prior authorization to seek

treatment for behavioral health services. This was also true for Medicare covered individuals

who sought treatment at Cedar Hills. As such, all Medicare covered individuals that presented to

Cedar Hills were admitted to the hospital.



Page 18 - COMPLAINT                                                     53518-75290 2./30986 l \RMH 10127 2016




                                                                                                          Page 21
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 19 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 22 of 100




       75.     Upon information and belief, all TRICARE covered individuals that presented to

Cedar Hills were admitted to the hospital. They were admitted under the highest level of care,

CPT 99223 regardless of their actual condition.

       76.     Cedar Hills and UHS had an established system whereby all Medicare and

TRICARE would be admitted and then would be certified and re-certified for lengthy

hospitalizations regardless of the medical necessity of the treatment and/or hospitalization.

       77.     Relator is unaware of any instances where a Medicare or TRICARE covered

individual was denied admission to Cedar Hills.

       B. Cedar Hills's Medicare Certification and Re-Certification Process Is a Sham

       78.     Medicare reimburses facilities such as Cedar Hills on federal per diem rates. 42

CFR 412. Relator is aware that Medicare was paying approximately $800 per day per patient to

Cedar Hills and UHS for Medicare covered individuals that were hospitalized at Cedar Hills.

Therefore, the longer a hospitalization lasted, the more money Cedar Hills received.

       79.     Medicare does not pay for an individual's hospitalization unless a physician has

certified the need for such hospitalization.

       80.     Cedar Hills sought to increase the length of Medicare covered individuals'

hospitalizations in an effort to increase the amount of Medicare payments to it.

       81.     When a Medicare beneficiary presents to Cedar Hills, in order for Medicare to

pay for a hospitalization, a physician must certify the necessity of such hospitalization following

a psychiatric evaluation. However, the hospitalization decision was frequently made even before

the physician saw the patient and performed a psychiatric evaluation.

        82.    Cedar Hills' employees and/or administration often times filled out this

certification form for the physicians and the physicians merely signed their names to the form.

Frequently, these certifications ordering hospitalizations were filled out by non-physicians before

the physician ever saw the patient. Thus, the physician's signature was a sort of "rubber stamp"

Page 19 - COMPLAINT                                                      53518-75290 2./30986_1\RMH JQ/27 2016




                                                                                                           Page 22
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 20 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 23 of 100




to make it appear as though Cedar Hills was complying with Medicare requirements and that the

patient actually required hospitalization. The certifications were therefore false and fraudulent.

       83.     Additionally, Relator is aware if the Medicare Certification was missed for any

reason, the physicians would backdate their signatures so all days would be paid for, even though

a certification was not executed.

       84.     Upon being admitted to Cedar Hills and after the physician certified that the

hospitalization was necessary, Medicare would pay for up to 12 days of treatment for the patient.

See Exhibit Cat 30.2, p. 5.

       85.     On day two or three of the Medicare patients' hospitalization, during the first

treatment team after their admission, the doctor would project the discharge date to be 20 to 28

days out because they did not need a Medicare prior authorization.

       86.     Following the first certification and initial 12 days' hospitalization, a re-

certification would be performed to make it appear that the patient needed continued

hospitalization. This re-certification is required by Medicare.

       87.     The re-certification was valid for 18 days. Once the re-certification was done,

Medicare would potentially pay for up to 30 days of its covered individual's hospitalization,

even though the patient may not have needed any hospitalization at all.

       88.     Relator was told that hospitalizations longer than 30 days would potentially be a

"red flag" to Medicare and therefore, Medicare beneficiaries were frequently discharged after

approximately 21 days of acute level of care treatment.

       89.     The average hospitalization for a Cedar Hills' Medicare covered patient was

approximately 21 days whereas a patient covered by private insurance was oftentimes only

hospitalized for 3-5 days.

       90.     Upon information and belief, all Medicare covered patients at Cedar Hills were

always re-certified to extend their hospitalization beyond the initial 12 days so long as the patient

Page 20 - COMPLAINT                                                        5351s-15290 2m9s6_11RMH 10127 2016




                                                                                                          Page 23
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 21 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 24 of 100




was willing to stay at the facility.

        91.     Similar to how the initial certification was executed, Cedar Hills' employees, who

were not physicians, filled out the re-certifications and the physicians were simply signing off on

the certification to make it appear as though the patient needed continued hospitalization.

        92.     Physicians rarely evaluated the patients in order to properly certify and re-certify

the continued hospitalization.

        93.     The physicians met their patients each day but oftentimes, the daily meetings

were for approximately 10-15 minutes. However, the treatment was supposed to be longer than

this, as is evidenced by the CPT codes. Relator also was told that the treatment was supposed to

be longer than actually provided by a Cedar Hills physician.

        94.     A different physician would stop his patient in the hallways and converse with the

patient for mere minutes. The physician would use this interaction as the day's required patient

meeting. Relator is aware that on many occasions, this physician's patient would ask staff

members for their daily meeting only to be told that the physician had already met with them and

counted their hallway conversations as their daily meeting.

        95.     Due to the low interaction between physician and patient, Cedar Hills physicians

relied on hospital staff for a majority of their patients' treatment updates and needs. Therapists

and social workers filled out the treatment plans and would forward the proposed plans to the

physicians during treatment team meetings. Oftentimes, the treatment plans were not reviewed

by the physician prior to the physician signing the plan. This is because the treatment plans were

all similar to one another, regardless of patient needs. The forms were essentially fill in the blank

forms that the staff filled out.

        96.     Therefore, much of the treatment that is described in the medical records was not

provided. If it was, the physician had little to no involvement in the treatment and the plans were

not individualized, as Medicare requires.

Page 21 - COMPLAINT                                                       53518-75290 2430986_1,RMHJ01272016




                                                                                                        Page 24
   Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 22 of 33
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 25 of 100




       97.      The physicians routinely had 18-22 patients to treat each day, in addition to other

tasks. However, a normal workday was only 6-7 hours.

       C. UHS's and Cedar Hills's Use of "Clinical Documentation Improvement
          Specialists"


       98.      Medicare and TRI CARE pay for medically necessary services. In order to

demonstrate the necessity of services, government health programs require certain

documentation in order to determine if a payment should be made to the provider.

       99.      Cedar Hills' practice of lengthening Medicare patients' hospitalizations needed to

be supported by medical records to ensure that Medicare would pay for the continued

hospitalization.

        100.    Each patient file includes a tracking sheet in the front of the medical billing

section. Cedar Hills physicians are required to fill in the level of service provided each day for

each patient. These forms are routinely backdated. Relator is aware that the CPT codes that were

used were never in fact properly billed. The codes require a certain amount of time to be spent

treating the patient but Cedar Hills physicians did not spend the required time with patients.

        101.    In order to make it appear as though the services were medically necessary, UHS

employed people known as "Medicare Auditors" and/or "Clinical Documentation Improvement

Specialists."

        102.    Upon information and belief, UHS employs Medicare Auditors and/or Clinical

Documentation Improvement Specialists at each of its facilities.

        103.       The Medicare Auditors or Clinical Documentation Improvement Specialists

review all of the facility or provider's Medicare charts on a daily basis and verify that there is

adequate documentation to support a continued inpatient hospitalization.

        104.    The auditors also make sure the certification and re-certification forms have been

signed by the attending physician within the time frame Medicare requires for payment. If the
Page 22 - COMPLAINT                                                       53518-75290 2-130986_1\RM!l!O27 2016




                                                                                                          Page 25
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 23 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 26 of 100




certifications are not signed, the auditor has the physician sign and backdate the form to the date

that is needed so that Medicare will pay for the duration of the hospitalization. Relater is aware

that some forms would be backdated for multiple days.

       105.    The auditors would also evaluate the physicians based upon whether the

physicians had included certain terminology in their medical records, notes, etc. that would

support a continuing inpatient hospitalization and that would further support a continued stay at a

high level of needed care.

        106.   After UHS took ownership of Cedar Hills, the hospital overhauled its Medicare

documentation expectations and process. The documents were revised such that all of its

documentation standards were matched to the Medicare standards as opposed to having private

insurance paperwork in addition to Medicare paperwork. This was done to ensure that no

Medicare patient ever missed any of the require Medicare paperwork.

        107.   UHS would continually conduct audits to ensure that the medical records

supported an acute level of hospitalization. The audits were not conducted to verify accuracy of

reports but rather, were solely conducted to train and critique staff so that that staff knew how to

document records to support acute hospitalizations.

       108.    Cedar Hills staff are required to make the documentation meet the Medicare

criteria for acute hospitalization regardless of the patient's actual needs. Cedar Hills and UHS

were not worried about an actual Medicare audit because the paperwork that they mandated

ensured that the hospitalizations would be supported in the records. However, the paperwork was

deceptive and false.

        109.   After UHS acquired Cedar Hills, UHS instructed physicians and other employees

on what should be included in all medical records, reports, psychiatric evaluations, progress

notes, etc., including the hospitalization certifications. Similarly, UHS also instructed its

physicians and staff members exclude certain terms in medical records that may make it appear

Page 23 - COMPLAINT                                                       5351s-15290 2-130986_1RMH1om 2016




                                                                                                        Page 26
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 24 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 27 of 100




as though a continued hospitalization was not necessary. For example, UHS instructed its

employees to not use the words "stable," "bright," and "no detox symptoms," in addition to other

terms and phrases.

       110.     When UHS purchased Ascend, including Cedar Hills, it sent its employees to

Cedar Hills to demonstrate how it wanted Medicare claims forms and records filled out. This was

done even though Cedar Hills had previously submitted Medicare claims for approximately four

years. The employees sent by UHS were a specific team of UHS employees that flew to various

UHS facilities in order to train the staff on how to fill out Medicare documentation. After

interacting with this team, Relator learned UHS was teaching its employees to deceive Medicare.

       111.     One member of this team sat in a conference room going through Medicare charts

to critique Cedar Hills' employees and show where the documents could be strengthened to

make it appear as though the services provided were medically necessary. She then gave the

Cedar Hills employee an action plan on how to improve all Medicare charts to prevent Medicare

from taking back payments.

       D. UHS and Cedar Hills's Physician Compensation Plan Encouraged Physicians to
          Certify Longer Hospitalizations for Medicare Patients


       112.     Physicians employed at Cedar Hills' were compensated, in part, upon the number

of patients that they visited and treated each day. Thus, Cedar Hill's encouraged and developed a

culture where physicians were encouraged to keep patients admitted to Cedar Hills for longer

durations than may have been necessary in an effort to increase their own pay.

        113.    Cedar Hills physicians were paid $100 per day per patient they visited with.

        114.    Frequently, Cedar Hills physicians would only spend 10-15 minutes per day with

each patient.

        115.    Cedar Hills employees were aware that physicians wanted to keep Medicare

patients admitted into the hospital for as long as possible. Physicians asked social workers to
Page 24 - COMPLAINT                                                     53518-75290 2./30986_1\RMH10127 2016




                                                                                                         Page 27
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 25 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 28 of 100




help them by making patients comfortable to ensure the patient would not want to discharge

early.

          116.   On numerous occasions, Relator heard physicians state that the physicians wanted

more Medicare patients as they were easy to treat than private insurance patients. I heard them

often say the Medicare longer stays gave everyone a break from the fast pace of acute care. This

was because when new patients would be admitted, comprehensive evaluations would be

required versus established patients who only visited with the physicians for a few minutes each

day.

          E. Cedar Hills Admitted Blacklisted Patients When its Facility Had Open Beds to
             Increase its Medicare and TRICARE Reimbursement


          117.   Patients frequently returned to Cedar Hills after having been treated at the hospital

previously. Recently, Cedar Hills has sought to limit this practice as Medicare has made it more

difficult to be reimbursed for re-admitted patients.

          118.   Cedar Hills kept a list of patients that were prohibited from seeking treatment at

Cedar Hills based upon previous misconduct while at the hospital. These patients were

"blacklisted" after having previously acted out in various ways that deemed them to be unsafe to

staff or too much of a nuisance by interfering with other patients' treatment. One particular

patient had Borderline Personality Disorder and was a "frequent flyer" and she acted out by

cutting her wrist because it was time for her to discharge (it had been around 29 days). She was

blacklisted but ended up being admitted again when the hospital had low census.

          119.   Cedar Hills' policy was to always have the hospital filled to capacity and would

allow these so-called blacklisted patients, assuming the individual was covered by Medicare, to

be admitted into the facility if there were any beds available without regard to their blacklisted

status.



Page 25 - COMPLAINT                                                        53518-75290 2430986_1 \RMH'J0.272016




                                                                                                           Page 28
            Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 26 of 33
                Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 29 of 100




                120.    Relator is aware of an instance where a privately insured patient also had

         Medicare coverage. The patient had Medicare and private insurance. Cedar Hills submitted the

         hospitalization claim under Medicare as the primary insurer. The private insurance still required

         every other day reviews and stopped authorizing for payment after approximately 7 days.
    J
    !
    !    However, Cedar Hills continued the hospitalization for approximately 25 days on the belief that
~j
    '    the patient had Medicare as its primary insurance and Medicare would pay the bill. Cedar Hills
l
l        then found out the private insurance really was the actual primary insurer and that over 20 days
l        would not be paid for. The private insurance would not pay for any more than the 7 days because
1
1        the patient did not meet inpatient hospitalization criteria. Cedar Hills discharged the patient the
I        day it found out he did not have Medicare as his primary insurance and the doctor told Relator he

1
j
         would have discharged him two weeks earlier if he knew Medicare was not going to cover it.
l
l
!
                121.    Cedar Hill's CEO was Elizabeth Hutter and its CFO was John Prehm. The

         previous CEO was Mike Sherbun. Mr. Sherbun told Relator and other Cedar Hills employees
j        that his wages relied upon keeping the hospital fully occupied.
I
1               122.    UHS required Cedar Hills to submit monthly and quarterly reports to UHS. Based
l
i        upon Cedar Hills' performance, the CEO and CFO would receive bonuses from UHS.

I                                             CLAIMS FOR RELIEF

        COUNT I.        Violations of the False Claims Act - 31 U.S.C. § 3729(a)(l)(A)

                123.    Relator incorporates by reference each of the preceding paragraphs of this

         Complaint.

                124.    This is a claim for treble damages and penalties under the FCA, 31 U.S.C. § 3729

         et seq., as amended.

                125.    By virtue of the acts described above, the Defendants knowingly presented, or

         caused to be presented, a false or fraudulent claim for payment or approval, which resulted in

         countless milliol)s of dollars of payments of false claims by the United States Government to the

         Page 26 - COMPLAINT                                                       53518-75290 2430986_1 ',RMH' J0,2712016




                                                                                                                      Page 29
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 27 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 30 of 100




 Defendants. All such false claims and acts are in violation of the FCA in general and specifically

 in violation of31 U.S.C. § 3729(a)(l)(A).

        126.    The acts described above induced the United States Government to pay or

 approve such false or fraudulent claims.

        127.    In reliance on these false representations and claims, the United States

 Government, by and through its intermediaries, agents, and agencies, paid countless millions of

 dollars for services the Defendants contracted to provide that it otherwise would not have paid

 had the government been aware of Defendants' knowing violations of the FCA and the various

 rules and regulations of the Medicare, TRICARE, and other government funded medical

 programs.

        128.    By reason of Defendants' acts, the United States has been damaged and continues

 to be damaged in substantial amounts to be determined at trial.

        129.    Pursuant to the FCA, the Defendants are liable to the United States for treble

 damages and a civil penalty of not less than $5,500 and not more than $11,000 for each of the

 false or fraudulent claims herein submitted prior to August 1, 2016 and a civil penalty of not less

 than $10, 781 and not more than $21,563 for each false or fraudulent claim submitted on or after

 August 1, 2016.

COUNT II.       Violations of the False Claims Act - 31U.S.C.§3729(a)(l)(B)

        130.    Relator incorporates by reference each of the preceding paragraphs of this

 Complaint.

        131.    This is a claim for treble damages and penalties under the FCA, 31 U.S.C. § 3729

 et seq., as amended.

        132.    By virtue of the acts described above, the Defendants also knowingly made, used

 or caused to be made or used, false records and statements material to a false or fraudulent claim

 which resulted in millions of dollars of payments of false claims by the United States

 Page 27 - COMPLAINT                                                     5351s-15290 wo9s6_1RMH10;27 2016




                                                                                                      Page 30
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 28 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 31 of 100




  Government to the Defendants. All such false claims and acts are in violation of the FCA in

  general and specifically in violation of 31 U.S.C. § 3729(a)(l )(B).

         133.    Every such payment by the United States to the Defendants was a product of a

  false claim and materially false statements made by Defendants.

         134.    In reliance on these false representations and claims, the United States

  Government, by and through its intermediaries, agents, and agencies, paid countless millions of

  dollars for services the Defendants contracted to provide that it otherwise would not have paid

  had the government been aware of Defendants' knowing violations of the FCA and the various

  rules and regulations of the Medicare, TRICARE, and other government funded medical

  programs.

         135.    By reason of Defendants' acts, the United States has been damaged and continues

  to be damaged in substantial amounts to be determined at trial.

         136.    Pursuant to the FCA, the Defendants are liable to the United States for treble

  damages and a civil penalty of not less than $5,500 and not more than $11,000 for each of the

  false or fraudulent claims herein submitted prior to November 2, 2015 and a civil penalty of not

  less than $10, 781 and not more than $21,563 for each false or fraudulent claim submitted on or

  after August 1, 2016.

COUNT Ill.       Violations of the False Claims Act - 31 U.S.C. § 3729(a)(l)(C)

         13 7.   Relator incorporates by reference each of the preceding paragraphs of this

  Complaint.

         138.    The False Claims Act, 31U.S.C.§3729(a)(l)(C), imposes liability on any person

  who conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G).

         139.    Defendants have engaged in illegal conspiracy with each other to collect Federal

  funding for the purposes of profit.



  Page 28 - COMPLAINT                                                     53518-75290 2430986_l '1RMH/ 10'27 2016




                                                                                                             Page 31
      Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 29 of 33
          Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 32 of 100




         140.   Defendants knowingly submitted false claims to the United States when

 Defendants conspired in the billing practices, as described above, for the purposes of obtaining

 compensation to which they would otherwise not be entitled.

         141.   With respect to the aforementioned misrepresentations and failures to comply,

 Defendants knowingly made false claims to officials of the United States for the purpose of

 obtaining compensation and Defendants received such compensation from the United States as a

 result of Defendants said false claims.

         142.   The United States has been damaged by all of the aforementioned fraud and

 illegal conduct in an as of yet undetermined amount.

         143.   Pursuant to the FCA, the Defendants are liable to the United States for treble

 damages and a civil penalty of not less than $5,500 and not more than $11,000 for each of the

 false or fraudulent claims herein submitted prior to August 1, 2016 and a civil penalty of not less

 than $10,781 and not more than $21,563 for each false or fraudulent claim submitted on or after

 August 1, 2016.

COUNT IV.       Violations of the False Claims Act - 31U.S.C.§3729(a)(l)(G)

         144.   Relator incorporates by reference each of the preceding paragraphs of this

 Complaint.

         145.   The False Claims Act, 31 U.S.C. § 3729(a)(l)(G), imposes liability on any person

 who knowingly makes, uses, or causes to be made or used, a false record or statement material to

 an obligation to pay or transmit money or property to the Government, or knowingly conceals or

 knowingly and improperly avoids or decreases an obligation to pay or transmit money or

 property to the Government.

         146.   Defendants knowingly made false claims to officials of the United States for the

 purpose of obtaining compensation and Defendants received such compensation from the

  Government as a result of Defendants' false claims.

  Page 29 - COMPLAINT                                                    53518-75290 2./30986_1 IRMWI0/27 2016




                                                                                                           Page 32
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 30 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 33 of 100




       147.    Through the acts described above, by knowingly concealing money that was owed

to the Government when, after Defendants knowingly received money through an illegal scheme,

Defendants kept the profit they made off the government payments, Defendants knowingly

concealed or knowingly and improperly avoided an obligation to pay or transmit money or

property to the Government.

       148.    The United States has been damaged by all of the above fraud and illegal conduct

in an as of yet undetermined amount.

       149.    Pursuant to the FCA, the Defendants are liable to the United States for treble

damages and a civil penalty of not less than $5,500 and not more than $11,000 for each of the

false or fraudulent claims herein submitted prior to August 1, 2016 and a civil penalty of not less

than $10, 781 and not more than $21,563 for each false or fraudulent claim submitted on or after

August 1, 2016.

COUNT V.        Violations of 42 U.S.C. § 1320a-7k

       150.    Relators incorporate by reference each of the preceding paragraphs of this

Complaint.

        151.   42 U.S.C. 1320a-7k is known as the "MEDICARE AND MEDICAID

PROGRAM INTEGRITY PROVISIONS" in the Social Security Act. Section l 128J(d)(l) of the

Social Security Act requires a person who has received an overpayment to report and return the

overpayment to the Secretary, the state, an intermediary, a carrier, or a contractor, as appropriate,

at the correct address, and to notify the Secretary, state, intermediary, carrier or contractor to

whom the overpayment was returned in writing of the reason for the overpayment. Section

1128J(d)(2) of the Act requires that an overpayment be reported and "returned by the later of-

(A) the date which is 60 days after the date on which the overpayment was identified; or (B) the

date any corresponding cost report is due, if applicable." Section 11281(d)(3) of the Act specifies

that "any overpayment retained by a person after the deadline for reporting and returning an

Page 30 - COMPLAINT                                                        5351s-15290 2430986_1 '.RMH w27 2016




                                                                                                           Page 33
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 31 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 34 of 100




overpayment is an obligation (as defined in 31 U.S.C. 3729(b)(3)) ... for purposes of 31 U.S.C.

3729."

         152.    Pursuant to 42 U.S.C. 1320a-7k(4)(B) "the term "overpayment" means any funds

that a person receives or retains under subchapter XVIII or XIX to which the person, after

applicable reconciliation, is not entitled under such subchapter." Defendants have received funds

pursuant to subchapter XVIII.

         153.    The Defendants are each to be considered a "person" under 42 U.S.C. 1320a-

7k(d)(4)(C).

         154.    Pursuant to 42 U.S.C. 1320a-7k, the Defendants' retention of funds received

through the fraudulent scheme described above constitute overpayments that it was required to

reimburse.

         155.    The Defendants have not reimbursed the government the funds that it was

overpaid with.

         156.    The Defendants' actions therefore create a liability under the False Claims Act.

         15 7.   Pursuant to the FCA, the Defendants are liable to the United States for treble

damages and a civil penalty of not less than $5,500 and not more than $11,000 for each of the

false or fraudulent claims herein submitted prior to August 1, 2016 and a civil penalty of not less

than $10, 781 and not more than $21,563 for each false or fraudulent claim submitted on or after

August 1, 2016.

COUNT V.         Violations of the Anti-Kickback Statute - 42 U .S.C.A. § 1320a-7b

         158.    Relator incorporates by reference each of the preceding paragraphs of this

Complaint.

         159.    The Defendants violated the Anti-Kickback Statute by making bonus payments

contingent upon the fraudulent billing.



Page 31 - COMPLAINT                                                       53518-75290 2430986_1\RMHi/0/272016




                                                                                                         Page 34
    Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 32 of 33
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 35 of 100




       160.    The bonus payments are a form ofremuneration that the Anti-Kickback Statute

prohibits Defendants from accepting.

       161.    A violation of the Anti-Kickback Statute creates civil liability, including liability

under the False Claims Act.

       162.    The Defendants are therefore liable to the United States for treble damages and a

civil penalty of not less than $5,500 and not more than $11,000 for each of the false or fraudulent

claims herein submitted prior to August 1, 2016 and a civil penalty of not less than $10, 781 and

not more than $21,563 for each false or fraudulent claim submitted on or after August 1, 2016.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, the United States of America through Relator Carrie Eborall,

request the Court for entry of judgment against Defendants and the following relief:

       A.      That Defendants cease and desist from further violations of the False Claims Act,

31 U.S.C. § 3729 et seq., and the related Medicare, TRICARE and other federally and state

funded medical programs;

       B.      That the Court enter judgment against the Defendants in an amount equal to three

times the amount of damages suffered by the United States because of Defendants' actions, plus

a civil penalty of not less than $5,500 and not more than $11,000 for each false claim or

certification in violation of the FCA submitted prior to August 1, 2016 and a civil penalty of not

less than $10, 781 and not more than $21,563 for each false or fraudulent claim submitted on or

after August 1, 2016;

       C.      That Relator be awarded the maximum amount allowed pursuant to section

3730(d) of the False Claims Act;

       D.      That Relator be awarded all costs of this action, including attorneys' fees, costs

and expenses pursuant to 31 U.S.C. § 3730(d); and



Page 32 - COMPLAINT                                                       53518-75290 2./30986_1 'RMH JO 27 2016




                                                                                                            Page 35
     Case 3:16-cv-02065-YY *SEALED* Document 1 Filed 10/27/16 Page 33 of 33
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 36 of 100




       E.     That the United States and Relator be granted such further relief as the court

deems equitable, just and proper.

                                       JURY DEMAND


       Pursuant to Rule 3 8 of the Federal Rules of Civil Procedure, a jury trial is demanded.


       Dated this 27th day of October, 2016.




                                             By:__c_~~~~--==---..:....._~~---1.--""""-~
                                             RUSSELL D. GARRETT, OSB # 882111
                                             russ.garrett@jordanramis.com
                                             ROGER A. LENNEBERG, OSB # 842733
                                             roger.lenneberg@jordanramis.com
                                             Two Centerpointe Dr 6th Flr
                                             Lake Oswego OR 97035
                                             Telephone: (503) 598-7070
                                                 Attorney( s) for Plaintiff Carrie Eborall


                                             Brian H. Mahany, WI Bar# 1065623
                                             E-mail: brian@mahanylaw.com
                                             MAHANY LAW
                                             8112 West Bluemound Rd, Ste 101
                                             Wausatosa WI 53213
                                             Telephone: (414) 258-2375
                                                    Anticipated Pro Hae Vice Attorneys for
                                                    Plaintiff Carrie Eborall




Page 33 - COMPLAINT                                                     53518-75290 2./30986_1IRMH10!27 2016




                                                                                                          Page 36
                         Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 1 of 28
                             Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 37 of 100

                                                                                                                                                                                                            APPROVED OMB-083&-0008
     PLEASE
     DO NOT
     STAPLE
    INTHIS
    AREA

    nTlPICA                                                                                                                          HEALTH INSURANCE CLAIM FORM                                                                   PfCA    ITT
     1. MEDICARE                      MEDICAID              CHAMPUS                 CHAMPVA                  GROUP        FECA                       OTH~     1a. INSURED'S 1.0. NUMBER                          (FOR PROGRAM IN ITEM 1)

    n                                                       ~· SSN}
                                                                                                             HEALTH PLAN ~K LUNG




                                                                                                                                                                                                                                                 l
           (M«Jlcar9 #) n             (""9dlctlld #) n                          n    /VA Flt> I) n            (SSN or ID}  (SSN) n                   (ID)
     2. PATIENTS NAME (lut N-, Flrll Hame, Mlddla lnlllll)                                       3.nuR:nn:»1nn1             un11;.                           ~-   INSURED'S NAM: (lat Namm, f'l1111 Name, Mldcle .-,111111)
                                                                                                     MM1D01VY
                                                                                                                                     MnSEXFn
                                                                                                             I        I
     5. PATIENTS ADDRESS (No., Shet)                                                             6. PATIENT RELATIONSHIP TO INSURED                          7. INSURED'S ADDRESS (No., Str.111)

                                                                                                                                               otieQ
     CITY                                                                           ISTATE
                                                                                                   Self D   SpouMD °''"'D
                                                                                                 IL PATIENT STATUS                                           CITY                                                               I STATE          z

     ZIPCOOE
                                                ! (LEP)E (.-,c:kld• Area Cada)
                                                                                                         SlngleD           M-D                Olll•D         ZIP CODE                              TB.rHONE )NC::LUDE AREA CODE)
                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                  :I!
                                                                                                   EmployllCI n           FIA~ Tim• n
                                                                                                                             Part;:,--i                                                                                                           a::
                                                                                                                          Slud81t
                                                                                                                             Sludaill                                                            1                                                0
                                                                                                                                                                                                                                                  u.
     8. OTHER INSUREO'S NAME (Lall Name, Fir11 N111118, Mlcldlll lntlat)                         111. ISr-"'""'' "w~•~"~' IREU\lEOTO:                        11. INSURED'SPOUCY GRO\F OR FECA NUMBER
                                                                                                                                                                                                                                                  li
                                                                                                                                                                                                                                                 Q

    1.    OTHER INSUREO'S POLICY OR GROUP NUMBER                                                 a. EMPLOYMENT? (CURRENT OR PREVIOUS)                        o. INSURE~ DATE OF BIRTI-1                                                          K!:;)
    b. OTHER INSURBl'S DATE OF BIRTH                                 SEX                         b. AlfTO ACCIDENT?
                                                                                                                     oves            [}o
                                                                                                                                            PLO.CE (SloUt)
                                                                                                                                                                          I 00 I VY
                                                                                                                                                                          I
                                                                                                                                                                          I
                                                                                                                                                                                I
                                                                                                                                                                                I
                                                                                                                                                             b. EMPLOYER'S NAME OR SCHOOL MME
                                                                                                                                                                                             MD
                                                                                                                                                                                                                         SEX
                                                                                                                                                                                                                                  FD
                                                                                                                                                                                                                                                 a>
                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                  0
       MM 1 OD 1 VY
                                                                                                                     Oves                                                                                                                        z<(
                i            I                           I Mn               Ff!                                                      [Jo       L_J
    c. EMPLOYER'S Not.ME OR SCHOOL NAME                                                          c. OTHER ACCIOENT?                                          c. IHSURANC::E PLAN NAME OR PROGRAM NAME                                            !zw
    a. INSURANCE PLAN NAME OR PROGRAM NAME
                                                                                                                     DYES
                                                                                                 10d. RES~O FOR LOCAL USE
                                                                                                                                     [Yo
                                                                                                                                                             a. IS THERE ANOTHER HEALTH BENEFIT PLAN?                                            ~
                                                                                                                                                                                                                                                 Q,

                                                                                                                                                                   DYES           nNO            11'/ff, relllm lo Incl oompler. llem 9 a<I.
                        READ BACK OF FORll IEFORE COMPU!TING & SIG*IG THIS FORlll.                                                                           13. INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I MJthorlze
    12. PATIENTS ORAlJTHORlZEDPERSON'S SIGNATURE I M1'1crlze . . _      afwiym.d..1orothlrlrlunna~



                                                                                                                                                                                                                                                 l
                                                                                                                                                             ~nl al medlcal benellll lo llllt~!!laned l!!!)!!;.!!:l!!!l!U.IUJ!lr.IW
    ~·ttQ Clilnf.· 1·--riifliil ~... jjiMilliilili fiiiiilll&il!fi1fl1ff~ orlilliit"'jiii'YWl10 .,..jiii                                                         .......... ducllled below.
        batow.

          SIGNED                                                                                             DATE                                                   SIGNEO
    14. DATE OF CURRENT: ~ 1.LNl;SS (First~) OR                                          15. IF PATIENT HAS HAD SAME OR SIMILAR ILLNESS. 16. DATES PATIENT UNABLE TO WORK IN CURRENT OCCUPATION
       MM I DO I YY          INJURY (Accidonl) OR                                            GIVI: rlRST DATE MM 1 00 I YY                        MM 1 OD 1 YY                 MM 1 00 1 YY
                  I                                                                                                                                          I
           l                 PREGNANCY(LMP)                                                                        I     J                   FROM      I                   TO      I    I
    17. NAME OF REFCRRlllG PHYSICIAN OR OTHER SOURCE                                     17a, LC. N\JheER OF REFERRJNG PHYSICIAN                             18. HOSPITALIZATION OATES RELATED TO CURRENT SERVICES
                                                                                                                                                                      MM 1 DD I yy                 MM 1 DD I yy
                                                                                                                                                                 FROM      I                    TO     I     I
                                                                                                                                                                                        I
    19. RESERVED FOR~ USE                                                                                                                                    20. OUTSIDE LAB?                             $CHARGES

                                                                                                                                                                                            I                            I
    21. DIAGNOSISORNAT\JREOF ILLNESSORINJURY.(RELATE ITEMS 1,2.30R4TOITEM24E8YLINE)                                                     t                         DYES            nNO
                                                                                                                                                             22. MEDICAID RESUBMISSION
                                                                                                                                                                 CODE                  ORIGINAL REF. HO.
     1. L.__,_                                                                              3.   L_,_                                                                                       I
                                                                                                                                                             21 PRIOR AUTHORIZATION NUMBER

     2. L.__.                                                                              4. L.__,_
    24.   A                                                       B         c                            0                                       E                       F               G    H     I   J                      K                 z
                Fro~TE(S) OF SERVlC~0                            Place     Type PROCEDURES, SERVICES, OR SUPPLIES                       DIAGNOSIS
                                                                                                                                                                                       DAYS EPSOl                         RESERVED FOR           Q
                                                                    or      or                                                                                                          OR Family.
                                                                                                                                                                                                                                                 ~
                                                                                    (Explain Unllallll ClraJmobln...)
     MM             DD           VY    MM        DD         VY                   CPTiHCPCS     I Mnrul'n=A                                    cooe                 $CHARGES
                                                                                                                                                                                       UNITS Plan
                                                                                                                                                                                                   EMG COB                  LOCAi.USE
                                                                                                                                                                                                                                                 :::!!
                         I                  I                                                                    I                                                           lI
                                                      I                                              I                                                                                                                                           "'0u.
            I
            I            I                  I                                                                    I
1
                                                                                                                                                                             I
                                                                                                                                                                             I                                                                   a;·
            I            I                  I                                                                    I
2           I            I
                         I                  I         !                                              I           r
                                                                                                                                                                             I
                                                                                                                                                                             I
                                                                                                                                                                             I                                                                   "'w
                                                                                                                                                                                                                                                 :i
                                                                                                                                                                             I                                                                   Q,
            I            I                  I         I                                                          I                                                           I
3
            I            I                  I         I
                                                                                                     I           I                                                           I                                                                   Q,
                                                                                                                                                                                                                                                 :;)


            I            I                  I         I                                                          I
                                                                                                                                                                             :I                                                                  II)
                                                                                                                                                                                                                                                 a::
4           I            :                  I         I                                              I           I                                                           I                                                                   0

            I            I
                                                                                                                                                                             I
                                                                                                                                                                             I                                                                   ~
            !            l
                                            I
                                            l         l                                             I
                                                                                                                 I
                                                                                                                 I
                                                                                                                                                                             I
                                                                                                                                                                             I                                                                   0

                                                                                                                                                                                                                                                 ~
5
                                                                                                                                                                             I
                                                                                                                                                                             I
                         I                  I                                                                    I
            I            !                  I
                                                      I                                              I           I                                                           I                                                                   Q,

    25. FEDERAL TAX 1.0. Nl"'4BER                                           26. PATIENTS ACCOUNT NO.
                                                                                                                          IM~PTM~ENT?
                                                          SSN EIN                                                                                            28. TOTAL CHARGE               , 29. AMOUNT PAID            30. BALJ\NCE DUE
                                                                                                                             govt ., ..abed<}
                                                 nn                                                                             YES           NO              $
                                                                                                                                                                                   I
                                                                                                                                                                                   I         s                   I        $
                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                      I
    31. SIGNATURE OF PHYSICIAN OR SUPPUER                                   32. NAME AND ADDRESS OF FACILITY WHERE SERVICES WERE                             33. PHYSICIAN'S, SUPPLIER'S BIUJNG NAME, ADDRESS, ZIP CODE
        INCLUDING DEGREES al. CREDENTIALS                                       RENOERBJ (lfolh..-hn home or allce)                                               &PHONEf
        (l ....ui\1111.i the-nlam l i e - . .
        apply. lo '1111 bll ana ... made a pert lh-.)

                                                                                                                     EXHIBIT
                                                                                                                                                                                                     I
    SIGNED                                                DATE

          (APPROVED BY AMA COUNCL ON MEDICAL SERVICE 1111111)                                     I                   A                                      PIN#                                        GAf'f
                                                                                                                                                                                  FORM HCF1r1900 (12-eo5<. FORM RRB-1!00,
                                                                                                                                                                                  FORMOWCP..1500           E HIBIT A
                                                                                                                                                                                                           Page 1of2
                                                                                                                                                                                                                                                  "'

                                                                                                                                                                                                                                  Page 37
                    Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 2 of 28
                        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 38 of 100


       BECAUSE THIS FORM IS USED BY VARIOUS GOVERNMENT AND PRIVATE HEALTH PROGRAMS, SEE SEPARATE INSTRUCTIONS ISSUED BY
       APPLICABLE PROGRAMS.

       NOTICE: Any person who knowingly ftl• a statement of claim containing any misrepresentation or any fain, Incomplete or mlsleadlng Information may
       be guilty of a crlmlnal act punishable under law and may be aubject to clvl penalties.

                                                                REFERS TO GOVERNMENT PROGRAMS ONLY
      MEDICARE AND CHAMPUS PAYMENTS: A patient's signature requests that payment be made and authorizes release of any lnformaUon necessary to process
      the claim and cerllftes that the Information provided In Blocks 1 llvough 12 is true, accurate and complete. In lhe case of a Me<lcare claim, the patfenl's signature
      authorizes any entity to releasa to Medicare medcal and nonmedlcal Information, Including employmenl status, and whe1herthe person has employer group heellh
      Insurance, llablUty, no-fault, worker's compensation or other Insurance which Is responsible to pay for lhe services for which the Medicare claim is made. See 42
      CFR 411.24(a). If Item 9 ls completed, Iha patient's signature aulhorlzas release of the Information to Ilia health plan or agency shown. In Medicare assigned or
      CHAMPUS participation cases, the physician agrees to accept the charge det81TT1inatlon of the Medicare carrier or CHAMPUS fiscal Intermediary es the full charge,
      and lhe patient Is responsible only for the deductlble, coinsurance end noncovered services. Coinsurance anfl the deductible are based upon the ctiarge
      determination of the Medicare carrier or CHAMPUS fiscal Intermediary ff this le less ltlan Ille charge submitted. CHAMPUS is not a health insurance program but
      makes payment for healll1 benefits provided tJvough certain atnllatlons with ttie Uniformed Services. lnformaUon on the patJent's sponsor should be provided In those
      Hems captioned In "Insured"; I.e., Items 1a, 4, 6, 7, 9, and 11.
                                                                 BLACK LUNG AND FECA CLAIMS
      The provider agrees to accept the amount paid by the Government as payment In full. Sae Black Lung and FECA instructions regarclng required procedure end
      diagnosis coding systems.
                                       SIGNATURE OF PHYSICIAN OR SUPPLIER (MEDICARE, CHAMPUS, FECA AND BLACK LUNG)
      I certify Ill at the selVlcesshown on this form were medically Indicated and necassaryforlhe health of the patient and were person any furnished by me orwere furnished
      Incident to my professional service by my employee under my Immediate personal supervision, except as otherwise expressly permitted by Medicare or CHAMP US
      regulations.
      For services to be considered as 'lncldenr to a physician's professional service, 1) they must be rendered under the physician's Immediate personal supervision
      by his/her employee, 2) !hey must be an lntagral, although lncldenlal part of a covered physician's service, 3) they must be of kinds commonly furnished In physician's
      offices, and 4) the services of nonphysicians must be Included on the physician's bills.
      For CHAMPUS clalms, I further certify lhat I (or any employee) who rendered servloes am not an active duty member of the Uniformed Services or a cMUan employee
      of the United States Government or a contract employee of the United States Government, either cMIJsn or mllltary (refer to 5 USC 5536). For Black-Lung claims,
      I further certify that the services performed were for a Black Lung-related disorder.
      No Part B Medicare benefits may be paid unless this form Is received as required by existing law and ragulations (42 CFR 424.32).
      NOTICE: Any one who misrepresents orfalslftes essential information to receive payment from Federal funds requested by this form may upon conviction be subject
      to fine and Imprisonment under applicable Federal laws.
               NOTICE TO PATIENT ABOUT THE COLLECTION AND USE OF MEDICARE, CHAMPUS, FECA, ANO BLACK LUNG INFORMATION
                                                           ~--~RIVACY ACTSTATEMENT)_::i_ ..                                             _____________ _
:----weare  ifuffloriZeaoy~-cfW.lPUS"ana·owc ... w -                you for Information needed in the administration ofltle Medicare, CHAMPUS, FECA. and Black Lung
'    programs. Authority to collect information lsln section 205(a), 1862, 1872and 1874oflheSoclal Security Act as amended, 42 CFR411.24(a) and 424.5(e)(6), and
     44 use 3101;41CFR101etseqand10 use 1079 and 1086; 5 use 8101 et seq; and 30 usc 901 et seq; 38 use 613; E.O. 9397.
     The information we obtain to complete clalms under these programs Is used to Identify you and to determine your ellglbiftty. It Is also used to decide if the services
     and supplies  yoo received-are coverAd by lhese programs and lo Insure that proper payment is tnade.
     The information may also be given to other providers of services, carriers, Intermediaries, medical review boards, healtti plans, and other organizations or Federal
     agencies, for Iha effective administration of Federal provisions that require olhar third parties payers to pay primary to Federal program, and es otherwise necessary
     toadminlsterthese programs. For example, it may be necessary to disclose Information about the benefits you have used to a hospital or doctor. Additional disclosures
     are made through routine uses for Information contained In systems of records.
     FOR MEDICARE CLAIMS: See the notice modifying system No. 09-70-0501, titled, 'Carrier Medicare Claims Record,' published in the Federal Register, Vol. 55
     No. 177, page 37549, Wed. Sept. 12, 1990, or as updated end republished.
     FOR OWCP CLAIMS: Department of Labor, Pr1Vacy Act of 1974, "Republlcatlon of Notice of Systems of Records," Federal Register Vol. 55 No. 40, Wad Feb. 28,
     1990, Sae ESA-5, ESA~. ESA-12, ESA-13, ESA-30, or as updated and republlsl1ed.
      FOR CHAMPUS CLAIMS: PRINCIPLE PURPOSE~· To evaluate ellglbiDty for medical care provided by cMllan sources and to Issue payment upon establishment
      of ellgl>lllty and determination that the services/SU es received are aultlorlzed by law.
      ROUTINE USE(S)· Information from claims and related documents may be given to the Dept. of Veterans Affaln!, the Dept. of Health and Human Services and/or
     the Dept. of Transportation consistent with their statutory administrative rasponsltiilties under CHAMPUS/CHAMPVA; to lhe Dept. of Justice for representation of
     the Secretary of Defense In clvll actions; to the Internal Revenue Service, private collection agencies, and con&Umer reporting agencies in connection wHh recoupment
     claims; and to Congr&S81onar omces In response to Inquiries made at the request of the parson to whom a record pertains. Appropriate disclosures may be made
     to other federal, state, local, foreign govemment agencies, private business enlltles, and lndMdual providers of care, on matters relating to entitlement, clalms
     adjudication, fraud, program abuse, utilization review, qualty assurance, peer review, program Integrity, third-party liability, coordination of benefits, and cMI and
     criminal litigation related to the operation of CHAMPUS.
     ~ISCLQSURES; Voluntary; however, falure to provide Information will result In delay In payment or may result in denial of claim. With the one exceptlon discussed
        elow, lhere are no penallles under these programs for refusing to supply lnfocmatlon. However, failure to furnish information regarding the medical services rendered
     or theamount charged would prevent payment of claims under lhese programs. Failure to furnish any olher nformatlon, such as name or claim number, would delay
     payment of lhe claim. FaUll'& to provide medical lnf011T1atfon under FECA could be deemed an obstruction.
     It Is mandatory that you tell us If you know lhat another party Is responsible for paying for your treabTient. Section 11288 of the Social Security Act and 31 USC 3801-
     3812 provide penalties for withholding this. Information.
     You should beawarethatP.L. 100-503, ltle"Computer Matching and Privacy Protection Act of 1988~, permlls lhegovemmenttoverlfylnformatlon byway of computer
     matches.
                                                              MEDICAID PAYMENTS {PROVIDER CERTIFICATION)
     I hereby agree to keep such records as are necessary to disciose fully lhe extent of services provided to lnd'ividuals under the State's Title XIX plan and to furnlsll
     Information regarding any payments claimed for providing such services as the State Agency or Dept. of Health and Hwnans Services may requesl
     I further agree to accept, as payment In full, the amount paid by the Medicaid program for those claims submitted for payment under that program, with the exceplioo
     of authorized deductible, coinsurance, 001>ayment or similar oc>st-sharing charge.
     SIGNATURE OF PHYSICIAN (OR SUPPLIER): I certify that the services listed above were medically lndi<:ated and necessary to the health of this patient and were
     personally furnished by me or my employee under my personal direction.
     NOTICE: This Is to certify that the foregolnQ Information Is true, accurate and complete ..I understand that payment end satisfaction of this dalm wtl be from Federal and State
               fl.Ilda, and that any false clalms, statements, or documents, or concealment of a material fact, may be prosecuted under apptlcable Federal or State laws.
     Public reportinQ burden for this collection of Information Is estimated to average 15 minutes per response, lndudlng lime for reviewing Instructions, searching existing
     date sources, gathering and maintaining data needed, and completing and reviewing the coJlectfon of Information. Send comments regarding this burden estimate or
     any other aspect of this collectlon of Information, including suggestions for reducing the burden, to HCFA. Office of Financial Management, P.0. Box 26684, Baltimore,
     MD 21207; and to the Offl:e of Management and Budget, Paperwork Reduction Project (OMB-0938-0008), Washington, D.C. 20503.                          EX HIBIT A
                                                                                                                                                        Page 2 of 2
                                                                                                                                                                           Page 38
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 3 of 28
    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 39 of 100




                            EXHIBIT

                       I      J3                              EXHIBIT B
                                                              Page 1of2
                                                                      Page 39
          Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 4 of 28
              Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 40 of 100


    IUBO'--Backer.J)-l-06     09/05/2006        2:56 PM   Page 1

                                                                               +
                               UB-04 N011CE:       THl!8UIMITTER OFTllS FOAM UNDlllSTAN08 ntAT "'8AEPN!BENTA110N OR MLSIFICATION
                                                   OF ISSINTIAL INFOFIMATION AS RBQIJ&S119J BY 11-llS FDAl\ll, MAY S!RV!AS 1MI! 8A8l8 POR
                                                   CIVIL llONETARTY PINAl.TIE8AND ASSESSMl!HTS AND MAY UPON COKVICTION INCWDI
                                                   PINDANDIOfl IMPAISO~UNDER ~.w:t/OR 8TATI! LAW(S).


       Submlaslon of thl1 cialm conatltutu certification that the biUrng                (b) The patient hu rapr8Hlltad l'lllt by a niported reeldental addnlea
       lnfoonatlon aa shown on 1he face heraof la true, accurate and COf1'llete.            outatde a rnil!Wy medlcer trea1mem fecllily catchment aret1 ht or
       That the eubmltter did not knowingly or reckleaaly disregard or                      8he does not Ive wllhln the catchment area ot a U.S. mnltary
       mlarepreaont or oonoeal matertaf fac!L The follow!ng certlfloalfons-0r               me<lcal treatment faoillty, or It the patient 1'98lde3 Within a
       wribtlons apply where pertinent k) 1hi!s Bill:                                       catchment arta of •uch a faciRty, a ·copy of Non-Av8llablllty
                                                                                            Slatement (OD Form 1251) le on fie, a the phyalcian hee cer1111ec:t
       1. If lhlni party bene1lla 1111 Indicated, Ille appropriate aselgnmen1s by           to a mtclcal emergency In ~ h9t8nce where a copy of a Non-
          the lnsurad Jbenefloiary and elgnature ol the patient or parent or a              AvailebBlly Statement Iii net on file;
          legal ~Ian ~g authotiza11on lo l9leaae lntormallon are on flle.
          Detennlnatfons n to the release al medical and tianclal ilformallon           (o) The patient or the patient's parent or guardian has responded
          should be guided by lhe patient or lhe patient's legeJ representative.            dhclyto 1he provider's request to Identify al heallh Inst.ranee
                                                                                            coverage, and that all such coverage le ldenllfted on lhe lace ct
      2. II patient oocupled a private room or required private nursing for                 th& lllllm except that coverage which la eXIUively aupi:lfemental
         rnedloQI neoesalty, In/ required cerlltlcallone ate on flle.                       P8Yll19018 to 1111CARE-de18rmilad beneftt.11; ·
      5. Physician's cettlftcatona and re-oerllftcatlo, If req!Jred by oontract         (d) The amount blled to TRICARE hae boen billed atter all such
         or Federal regulatona, are on   nie.                                               eoo.ierage have been bllled and peld ecccJuclng Medlcakj, and the
      4. For Aellglous Non-Medloal fadlltlea, varlllca11ona and if necess8l)' re·           amount bnled to mJCARE Is tNt remaining olalrned against
         certlfk:allons of the patient's need for eervlcee 111"9 on tile.                   TRICARE beneflt8;
      5. Signature of patient or his rapre111ntallve on certifications,                (e) The benGlldary'e cost shan1 ha8 not been waived by consent Pr
         aulhortntlon lo release Information, -.d payment requnt, as                       falture toe~ generally aocepted bll.,g and collectlcn 9flort.s;
     _ ~1!._«I ~ Federal Law and Re11llallon1 (42 use 1ssst,.!'f.-2 CFR                    and,
         4.24.36~0~0111hrough 1086, 32 CFR 199) and any other                          (I) Any hoepltal-based physician under contrac:t, the oogt of whose
         applicable contract regulalkm1. • on file.                                        services are allocated In !he charges hcludad ln1tisbil, ls.notan
      6. The r;irovtder of care submitter aoknowledgea that ttie blll Is In                employee or memlMr of the U~ Servlcas. For fJU'POS4IS ot



t
         conformance >Miil the Clvl Rights Act of 1964 aa amended. Records
         adequat•ly deacrlbtng ~1vice& will be malntalnod and necesar;
         Information wlll be furnished to such govsmmen'lal agenclea as
         required by eppllcable law.
      7. For Me<lcart PUrpooea: If 11'18 pa11ent hes indk:a18d that other health
         Insurance or • state medical as$lstance agency will pay part of
         hla/her medical expensn and he/she wants lnformallon about
         hlsAler olalm raleasGd to them upon requeal, necessary lllllhor1zalfon
                                                                                           this certlftcallon, an employee of the Unlform&d Serv~ Is an
                                                                                           emp(oyo?e, appclnted In clvB servl~ (Nf8r lo 5 USC 2105),
                                                                                           including part-~me or Intermittent employees, but excluding
                                                                                           contract aurgeona-or other pe1W011al eervtoe contracts. Slmllru1y,
                                                                                           member ot 1he Unffomied Sefvlcea does not apply to reserve
                                                                                           members ot th& Untonned Servloee not on acdve duty.
                                                                                       (g) Baaed on 42 United States Code 1395cc(a)(1Wl all provlden;
                                                                                           partlolpadng In Medcare must al$o partldpale In TRICARE: for
                                                                                                                                                                  t
         I• on Ille. The patient's signature on the provider's 1'9qlleat to blll           Inpatient hospital services provided pursuant to edmlaelone to
         M9dicare medical and non·mod!oal Information, lnoluding                           hoeplale OCCl.rrl111 on or eftef January 1, 1987; and
         employment status, and whether the person has employer.group                  (h} If TAICAAE benefits are to be paid In a partfolpaUog &1atus. the
         health lnauranc. which la f'MPOttllible to pay for the servlcea for               submitter of this clalm agl'ffs to aubmlt this claim to the
         which this Medloera clalm la made.                                                 appropriate TRICARE olalma pro¢88Sor. The provider of care
     8. For Medicaid !)llrpoeea: The aubmltter und«stands that becBllse                     submitter also agrees to accept the TRICARE determined
        payment and sallsfaotlon of Ihle claim wtl be tram Federal and State               19BSOOabfe charge M lhe 1olal charge tor the mecfcal services or
        funds, any false statement.I, documents, or concealment of a                       supples listed on lhe claim fonn. Th• provider Of care wlll accept
        mafeiial fact are subject to proeecutloo under appltcable Federal or               the TRICAAE·determlned reasonable ohlltge even If It Is less
        State Laws.                                                                        lhan the blled amount, and aleo agrH& to" accept the amount
                                                                                           paid by TRICARE combined with the coef·shara amount and
     9. ForTRICARE.PUrpoeee:                                                               dedudlble amount, If any, paid by or on behalf of the patient as
        (a) lhe Information on the face of 1hi& Olalm l8 IM. accurate and                  full pa}'lTlllnt tor the listed medical aervfcee or supplies. The
            complete to the best Of the eubnillenl knowleclge and belief, and              provider of care submlttar wll not attempt to llOllect from the
            servlcea were medlc:ally ll9G8S8aiy and appropriate tor lhe heel1h             patient (or hls or her parent or guardian) amount$ over the
            of the patient;                                                                TRICAR.E detenntled reasoneble charge. TAICARE wlll make
                                                                                           any benefits payable directly to the provider of care, If the
                                                                                           provider of care Is a perllclpatlng provider.




     SEE bttp· //www. ny be ,p cg/ FOA MORE INFORMATION ON U&-04 DATA ELEMENT AND PRINTING SPECIFICATIONS




                                                                                                                                        EXHIBIT B                     j
                                                                                                                                                                      I
                                                                                                                                        Page 2 of 2
                                                                                                                                                            Page 40 i
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 5 of 28
    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 41 of 100




                  Medicare Benefit Policy Manual
         Chapter 2 - Inpatient Psychiatric Hospital Services

                                          Table of Contents
                                         (Rev. 223, 05-13-16)

    Transmittals for Chapter 2

    10 - Inpatient Psychiatric Facility Services
            10.1 - Background
            10.2 - Statutory Requirements
            10.3 - Affected Medicare Providers
   20 - Admission Requirements
   30 - Medical Records Requirements
          30.1 - Development of Assessment/Diagnositic Data
 . __ . -· .. _3-~~ --~~Y~lllal!'.ic E_v_al_ua_ti_'o_n_. _ _ _ _ __
                       30.2.1 - Certification and Recertification Requirements
                                 30.2.1.l - Certification
                           30.2. l .2 - Recertification
                           30.2.13 -Delayed/Lapsed Certification and Recertification
                   30.2.2 - Active Treatment
                           30.2.2.l - Principals for Evaluating a Period of Active Treatment
                   30.2.3 - Services Supervised and Evaluated by a Physician
           30.3 - Treatment Plan
                   30.3.l - Individualized Treatment or Diagnostic Plan
                   30.3.2 - Services Expected to Improve the Condition or for Purpose of
                   Diagnosis
   30.4 -Recording Progress
   30.5 - Discharge Planning and Discharge Summary
   40 - Personnel Requirements
           40.1 - Director of Inpatient Psychiatric Services; Medical Staff
           40.2 - Nursing Services
   50- Psychological Services
   60 - Social Services
   70 - Therapeutic Activities
   80 - Benefit Application
   90 - Benefits Exhaust

                                                   EXHIBIT
                                            IC                                       EXHIBITC
                                                                                     Page 1 of 15
                                                                                                Page 41
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 6 of 28
    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 42 of 100




     10 - Inpatient Psychiatric Facility Services
     (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

     10.1 - Background
     This section and its subsections provide instructions about the Inpatient Psychiatric
     Facility Prospective Payment System (IPF PPS). The IPF PPS replaces the existing
     reasonable cost/fax Equity and Fiscal Responsibility Act (fEFRA) based payments
     subject to TEFRA limits under §1886 (b) of the Social Security Act (the Act) for
     discharges beginning on and after the first day of the IPF's first cost reporting period
     beginning on or after January 1, 2005.

     The IPF PPS, codified at 42 CfR 412, Subpart N, provides payment for inpatient
     psychiatric treatment when provided to a patient in psychiatric hospitals, and distinct part
     psychiatric units of acute care hospitals and critical access hospitals (CAHs). Psychiatric
     hospitals and psychiatric units that used to be paid reasonable-cost under TEFRA,
     §1886(b) of the Act, are now paid under the IPF PPS.

      The term 11 inpatient psychiatric facility services" means inpatient hospital services
      furnished to a patient of an inpatient psychiatric facility. IPFs are certified under
.___ .Me.dk:.are_as_inilati..enlpsyi<hiatric_hospitals_and.distinctpsy.chiatric_units.ofacute_care.___ ----
      hospitals and CAHs.

     10.2 - Statutory Requirements
     (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

    Section 124 of the Medicare> Medicaid, and SCHIP (State Children's Health Insurance
    Program) Balanced Budget Refinement Act ofl999 (BBRA) (Pub. L.106-113),
    mandated that the Secretary-(1) develop a per diem PPS for inpatient hospital services
    :furnished in psychiatric hospitals and psychiatric units; (2) include in the PPS an
    adequate patient classification system that reflects the differences in patient resource use
    and costs among psychiatric hospitals and psychiatric units; (3) maintain budget
    neutrality; (4) petmit the Secretary to require psychiatric hospitals and psychiatric units to
    submit information necessary for the development of the PPS; and (5) submit a report to
    the Congress describing the development of the PPS. Section 124 of the BBRA also
    required that the IPF PPS be implemented for cost reporting periods beginning on or after
    October 1, 2002.

    The Medicare Prescription Drug, Improvement, and Modernization Act of2003 (MMA)
    (Pub. L. 108-173), section 405(g) extended the IPF PPS to distinct part psychiatric units
    of CAHs, effective for cost reporting periods beginning on or after October 1, 2004.

    10.3 -Affected Medicare Providers
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

    IPFs are certified under Medicare as inpatient psychiatric hospitals, which means, an
    institution that is primarily engaged in providing, by or under the supervision of a



                                                                                         EXHIBIT C
                                                                                         Page 2of15
                                                                                                         Page 42
     Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 7 of 28
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 43 of 100




         physician, psychiatric services for the diagnosis and treatment of mentally ill patients,
         maintains clinical records necessary to determine the degree and intensity of the
         treatment provided to the mentally ill patient, and meets staffing requirements sufficient
         to carry out active programs of treatment for individuals who are furnished care in the
         institution. A distinct part psychiatric unit may also be certified if it meets the clinical
         record and staffing requirements in 42 CFR 412.27 for a "psychiatric hospital."

         The regulations at 42 CFR 412.402 define an IPF as a hospital that meets the
         requirements specified in 42 CFR 412.22 and 42 CFR412.23Ca), 42 CFR 482.60, 42 CFR
         482.61, and 42 CFR 482.62, and units that meet the requirements specified in 42 CFR
         412.22, 42 CPR 412.25, and 42 CFR 412.27.

       . The IPF PPS does not change the basic criteria for a hospital or hospital unit to be
         classified as a psychiatric hospital or psychiatric unit that is excluded from the hospital
         prospective payment systems under §1886(d) and §1886(g) of the Act, nor does it revise
         the Slll"Vey and certification procedures applicable to entities seeking this classification.

            The provider number ranges (Online Survey and Certification and Reporting System
            (OSCAR) number) for IPFs are from xx-4000 through xx-4499, xx-Sxxx, and xx-Mxxx.
            Note that this will change with the implementation of the National Provider Identifiers
- -----. -· (NPI).· --- -- - - - -                          --

         The follpwing hospitals are not included in IPF PPS.

            •    Veterans Administration hospitals; see 42 CFR 412.22 (c).

             •   Hospitals that are reimbursed under state cost control systems approved under 42
                 CFR Part 403; Psychiatric hospitals (provider numbers xx-4000 - xx.-4499) in the
                 State of Maryland are paid under the IPF PPS. Psychiatric distinct part units
                 located in an acute care hospital in Maryland identified by 'S' in the third position
                 of the OSCAR number are waived from the IPF PPS, as are the acute hospital in
                 which they are located. Currently there are no CAHs in Maryland.

            •    Hospitals that are reimbursed in accordance with demonstration projects
                 authorized under42 CFR402(a) of Pub.L. 90-248 (42 U.S. C. 1395b-l) or
                 §222(a) of Pub.L. 92-603 (42 U.S. C. 1395b-1); IPFs in acute care hospitals that
                 are paid in accordance with demonstration projects are paid in accordance with
                 the demonstration project;

            •    Nonparticipating hospitals furnishing emergency services to Medicare
                 beneficiaries. See 42 CFR 412.22(c).

        Payments to foreign hospitals are made in accordance with the provisions set forth in 42
        CFR413.74.

         20 - Admission Requirements



                                                                                              EXHIBIT C
                                                                                              Page 3of15
                                                                                                         Page 43
              Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 8 of 28
                  Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 44 of 100




                  (Rev. 194, Issued: 09-03-14, Effedive: Upon Implementation of ICD-10,
                  Implementation: Upon Implementation of ICD-10)

                  For all IPFs, a provisional or admitting diagnosis must be made on every patient at the
                  time of admission, and must include the diagnosis of comorbid diseases as well as the
                  psychiatric diagnosis.

                  In addition, according to 42 CFR 41227(a) and 42 CFR 482.61, distinct part psychiatric
                  units of acute care hospitals and CAHs are required to admit only those patients whose
                  admission to the unit is ~quired for active treatment, of an intensity that can be provided
                  appropriately only in an inpatient hospital setting, of a psychiatric principal diagnosis that
                  is listed in the Fourth Edition, Text Revision of the American Psychiatric Association's
                  Diagnostic and Statistical Manual, or in Chapter Five of the International Classification
                  of Diseases applicable to the service date. Psychiatric hospitals are required to be
                  primarily engaged in providing, by or under the supervision of a psychiatrist, psychiatric
                  services for the diagnosis and treatment of mentally ill persons, according to 42 CFR
                  412.23(a).

                  30 - Medical Records Requirements
___________ IB~Y· _?9-i Is~~_;_!l-99-06, Effective: 01-01-05,Jmplementation: 12-04-06)_ __
                  The medical records maintained by an IPF must permit determination of the degree and
                  intensity of the treatment provided to individuals who are furnished services in the
                  institution, according to 42 CFR 412.27 and 42 CFR 482.61.

                 In addition, consistent with sound clinical practice, all medical records, including
                 progress notes and treatment plan, should be legible and complete, and should be
                 promptly signed and dated by the person (identified by name and discipline) who is
                 responsible for ordering, providing or evaluating the service furnished.

                 30.1 - Development of Assessment/Diagnostic Data
                 (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

                 Medical records must stress the psychiatric components of the record, including history
                 of findings and treatment provided for the psychiatric condition for which the patient is
                 hospitalized.

                         (1) The identification data must include the patient's legal status.

                        (2) A provisional or admitting diagnosis must be made on every patient at the
                 time of admission, and must include the diagnoses of comorbid diseases as well as the
                 psychiatric diagnoses.

                         (3) The reasons for admission must be clearly documented as stated by the
                 patient and/or others significantly involved.




                                                                                                      EXHIBITC
                                                                                                      Page 4of15
                                                                                                                   Page 44
                   Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 9 of 28
                       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 45 of 100




                                 (4) The social service records, including reports of interviews with patients,
                         family members, and others, must provide an assessment of home plans and family
                         attitudes, and community resource contacts as well as a social history.

                                (5) When indicated, a complete neurological examination must be recorded at the
                         time of the admission physical examination

                        30.2 - Psychiatric Evaluation
                        (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

                        Each patient must receive a psychiatric evaluation that must-

                                 (1) Be completed within 60 hours of admission;

                                 (2) Include a medical history;

                                 (3) Contain a record of mental status;

                                 (4) Note the onset of illness and the circumstances leading to admission;
- - - - · - · · · -··-· - --··---------------                                 --------------------·
                                 (5) Describe attitudes and behavior;

                                (6) Estimate intellectual :functioning, memory functioning, and orientation; and

                                (7) Include an inventory of the patient's assets in descriptive, not interpretative
                                    fashion.

                        30.2.1 - Certification and Recertification Requirements
                        (Rev. 223,Issued: 05-13-16, Effective: 08-15-16, Implementation: 08-13-16)

                        30.2.1.1 - Certification
                        (Rev. 223, Issued: 05-13-16, Effective: 08;.JS-16, Implementation: 08-13-16)

                        The certification that a physician must provide, with respect to IPF services, is
                        documentation that the services furnished can reasonably be expected to improve the
                        patient's condition or for diagnostic study. The certification is required at the time of
                        admission or as soon thereafter that is reasonable and practicable. See Pub.100-0 I,
                        Medicare General Information, Eligibility and Entitlement Manual, chapter 4,§10.9, for
                        certification requirements.

                        30.2.1.2 - Recertification
                        (Rev. 223, Issued: 05-13-16, Effective: 08-15-16, Implementation: 08-13M16)

                       If the patient continues to require active inpatient psychiatric treatment, then a physician
                       must recertify as of the 12th day of hospitalization (with subsequent recertifications
                       required at intervals established by the IPF's Utilization Review committee on a case-by-




                                                                                                             EXHIBIT C
                                                                                                             Page 5of15
                                                                                                                         Page 45
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 10 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 46 of 100




       case basis, but no less frequently than every 30 days) that the services were and continue
       to be required for treatment that could reasonably be expected to improve the patient's
       condition, or for diagnostic study, and that the patient continues to need, on a daily basis,
       active treatment furnished directly by or requiring the supervision of inpatient psychiatric
       facility personnel. In addition, the hospital records should show that services furnished
       were intensive treatment services, admission or related services, or equivalent services.
       See Pub.100-01, Medicare General Information, Eligibility and Entitlement Manual,
       chapter 4, §10 .9, for recertification requirements.

       The format of all certifications and recertifications and the method by which they are
       obtained is determined by the individual facility. No specific procedures or forms are
       required. The provider may adopt any method that permits verification of all the IPFs
       requirements to continue treatment. For example, the recert~fication may be entered on
       provider generated forms, in progress notes, or in the records (relating to the stay in
       question) and must be signed by a physician.

        Claim denials may not be made for failure to use a certification or recertification form or
       failure to use particular language or format, provided that the medical record
       demonstrates the content requirements given at §30.2.1 are met.
                                                         -~---c--=----------------


 -·-   3iJ:2.J.J-~JJeiayed/Lapsed Certijicadon and Recertification
       (Rev.123, Issued: 05-13-16, Effective: 08-15-16, Implementation: 08-13-16)

       JPFs are expected to obtain timely certifications and recertifications. However, delayed
       certifications and recertifications will be honored where, for instance, there have been an
       oversight or lapse, and a legitimate reason for the delay as noted in Pub. 100-01, §20.1.
       Denial ofpayment for lack of the required certification and recertification is considered
       a technical denial, which means a statutory requirement has not been met. Consequently,
       ifan appropriate certification is later produced, the denial shall be overturned
       Reopenings of technical denial decisions may be initiated by the contractor or the
       provider.

       In addition to compliance with the appropriate certification and recertffication content
       requirements, delayed certification and recertification must include an explanation for
       the delay and any medical or other evidence which the /PF considers relevant for
       purposes ofexplaining the delay. The IPFwill determine the format of the delayed
       certifications and recertifications, and the method by which they are obtained. A delayed
       certification may be included with one or more recertification..v on a single signed
       document. Separate signed documents for each delayed certification and recertification
       are not required as they would be if timely certification and recertification had been
       completed. For all JPF services, a delayed certification may not extend past discharge.
       /PF certification or recertification documentation may only be signed by a physician.

       30.2.2 - Active Treatment
       (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)




                                                                                           EXHIBIT C
                                                                                           Page 6of15
                                                                                                       Page 46
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 11 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 47 of 100




   Payment for IPF services is to be made only for "active treatment" that can reasonably be
   expected to improve the patient's condition. To assure that payment is made only under
   such circumstances, the law includes certain requirements that must be met before the
   services furnished in an IPF can be covered, including medical necessity and
   certification.

   30.2.2.1 - Principles for Evaluating a Period of Active Treatment
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-0S, Implementation: 12-04-06)

   In the context of IPF services, emphasis is placed on the presence of active treatment and,
   therefore, this determination is the crucial one. Simply applying the skilled care
   definition for general hospitals is not sufficient for determining whether payment may be
   made since that definition does not take into account the patient's potential for
   improvement nor was it designed to permit the more sophisticated judgments required by
   the concept of active treatment. For services in an IPF to be designated as active
   treatment, they must be:

       •   Provided under an individualized treatment or diagnostic plan;

     _. !. ___ lkaso.nably_expected..trumpmv_e_.the_patient's_c.ondition:or_for_the_pwpose_o~f_ _
           diagnosis; and

       •   Supervised and evaluated by a physician.

   Such factors as diagnosis, length of hospitalization, and the degree of functional
   limitation, while useful as general indicators of the kind of care most likely being
   furnished in a given situation, are not controlling in deciding whether the care was active
   treatment. Refer to 42 CFR 482.61. Conditions of Participation for Hospitals, for a full
   description of what.constitutes active treatment.

   The period of time covered by the physician's certification is referred to as a period of
   active treatment. This period should include all days on which inpatient psychiatric
   facility services were provided because of the individual's need for active treatment (not
   just the days on which specific therapeutic or diagnostic services are rendered). For
   example, a patient's program of treatment may necessitate the discontinuance of therapy
   for a period of time or it may include a period of observation, either in preparation for or
   as a follow-up to therapy, while only maintenance or protective services are furnished. If
   such periods were essential to the overall treatment plan, they would be regarded as part
   of the period of active treatment.

   The fact that a patient is under the supervision of a physician does not necessarily mean
   the patient is getting active treatment. For example, medical supervision of a patient may
   be necessary to assure the early detection of significant changes in his/her condition;
   however, in the absence of a specific program of therapy designed to effect improvement,
   a finding that the patient is receiving active treatment would be precluded.




                                                                                       EXHIBIT C
                                                                                       Page 7of15
                                                                                                    Page 47
  Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 12 of 28
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 48 of 100




        The programts definition of active treatment does not automatically exclude from
        coverage services rendered to patients who have conditions that ordinarily result in
        progressive physical and/or mental deterioration. Although patients with such diagnosis
        will most commonly be receiving custodial care, they may also receive services that meet
        the program's definition of active treatment (e.g., where a patient with Alzheimer's
        disease or Pick's disease received services designed to alleviate the effects of paralysis,
        epileptic seizures, or some other neurological symptom, or where a patient in the terminal
        stages of any disease received life-supportive care). A period of hospitalization during
        which services of this kind were furnished would be regarded as a period of active
        treatment.

       30.2.3 - Services Supervised and Evaluated by a Physician
        (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

        The types of services which meet the above requirements would include not only
        psychotherapy, drug therapy, and electroconvulsive therapy, but also such therapeutic
        activities as occupational therapy, recreational therapy, and milieu therapy, provided the
        therapeutic activities are expected to result in improvement in the patient's condition. If
        the only activities prescribed for the patient are primarily diversional in nature, (i.e., to
_______ pz:2yi~~ ~ome social or recreational outlet for the n.atient). it would not be rega=r~d~ed~as~--­
        treatment to improve the patient's condition. In many large hospitals these adjunctive
        services are present and part of the life experience of every patient. In a case where
        milieu therapy, 'or one of the other therapeutic activities is involved), it is particularly
        important that this therapy be a planned program for the particular patient and not one
        where life in the hospital is designated as milieu therapy.

       In addition, the administration of antidepressant or tranquilizing drugs that are expected
       to significantly alleviate a patient's psychotic or neurotic symptoms would be termed
       active treatment (assuming that the other elements of the definitions are met). However,
       the administration of a drug or drugs does not necessarily constitute active treatment.

       Physician participation in the services is an essential ingredient of active treatment. The
       services of qualified individuals other than physicians, e.g., social workers, occupational
       therapists, group therapists, attendants, etc., must be prescribed and directed by a
       physician to meet the specific psychiatric needs of the individual. In short, the physician
       must serve as a source of information and guidance for all members of the therapeutic
       team who work directly with the patient in various roles. It is the responsibility of the
       physician to periodically evaluate the therapeutic program and determine the extent to
       which treatment goals are being realized and whether changes in direction or emphasis
       are needed. Such evaluation should be made on the basis of periodic consultations and
       conferences with therapists, reviews of the patient's medical record, and regularly
       scheduled patient interviews, at least once per week.

       When the physician periodically evaluates the therapeutic program to determine the
       extent to which treatment goals are being realized and whether changes in direction or
       emphasis are needed (based on consultations and conferences with therapists, review of




                                                                                          EXHIBITC
                                                                                          Page 8of15
                                                                                                        Page 48
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 13 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 49 of 100




    the patient's progress as recorded on the medical record and the physician's periodic
    conversations with the patient), active treatment would be indicated. A finding that a
    patient is not receiving active treatment will not in itself preclude payment for physicians'
    services under Medicare Part B. As long as the professional services rendered by the
    physician are reasonable and necessary for the care of the patient, such services would be
    reimbursable under the medical insurance program.

    30.3 - Treatment Plan
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05,Implementation: 12-04-06)

   The services must be provided in accordance with an individualized program of treatment
   or diagnosis developed by a physician in conjunction with staff members of appropriate
   other disciplines on the basis of a thorough evaluation of the patient's restorative needs
   and potentialities. The plan of treatment must be recorded in the patient's medical record
   in accordance with 42 CFR 482.61, Conditions of Participation for Hospitals.

   30.3.1 - Individualized Treatment or Diagnostic Plan
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

  _ Each patientmusthave. an...individuaLcomprehensive..treatment-plan-that.mustbe-based-- -·--·-·----.
    on an inventory of the patient's strengths and disabilities. The written plan must
    include-

           (1) A substantiated diagnosis;

           (2) Short-term and long-range goals;

           (3) The specific treatment modalities utilized;

           (4) The responsibilities of each member of the treatment team; and

           (5) Adequate documentation to justify the diagnosis and the treatment and
           rehabilitation activities carried out.

   The treatment furnished to the patient should be documented in the medical record in
   such a manner and with such frequency as to assure that all active therapeutic efforts are
   included, as well as provide a full picture of the therapy administered as well as an
   assessment of the patient's reaction to it.

   30.3.2 - Services Expected to Improve the Condition or for Purpose of
   Diagnosis
   (Rev. S9, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   The services provided must reasonably be expected to improve the patient's condition or
   must be for the purpose of diagnostic study. It is not necessary that a course of therapy
   have as its goal the restoration of the patient to a level which would permit discharge



                                                                                       EXHIBIT C
                                                                                       Page 9of15
                                                                                                    Page 49
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 14 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 50 of 100




   from the institution although the treatment must, at a minimum, be designed both to
   reduce or control the patient's psychotic or neurotic symptoms that necessitated
   hospitalization and improve the patient's level of :functioning.

   30.4 - Recording Progress
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   Progress notes must be recorded by the doctor of medicine or osteopathy responsible for
   the care of the patient, a nurse, social worker and, when appropriate, others significantly
   involved in active treatment modalities. The frequency of progress notes is determined
   by the condition of the patient but must be recorded at least weekly for the first 2 months
   and at least once a month thereafter and must contain recommendations for revisions in
   the treatment plan as indicated as well as precise assessment of the patient's progress in
   accordance with the original or revised treatment plan.

   As outlined above in §30 of this chapter, consistent with sound clinical practice, all
   medical records, including progress notes, should be legible and complete, and should be
   promptly signed and dated by the person (identified by name and discipline) who is
   responsible for ordering, providing, or evaluating the service furnished.

   30.5 - Discharge Planning and Discharge Summary
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-0S, Implementation: 12-04-06)

   The record of each patient who has been discharged must have a discharge summary that
   includes a recapitulation of the patient's hospitalization and recommendations from
   appropriate services concerning follow-up or aftercare as well as a brief summary of the
   patient's condition on discharge.

   40 - Personnel Requirements
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   IPFs must have adequate numbers of qualified professional and supportive staff,
   according to 42 CFR 412.27 and 42 CFR 482.62.

   IPFs must employ or undertake to provide adequate numbers of qualified professional,
   technical, and consultative personnel to:

   (1) Evaluate patients;

   (2) Formulate written individualized, comprehensive treatment p1ans;

   (3) Provide active treatment measures; and

   (4) Engage in discharge planning.




                                                                                    EXHIBITC
                                                                                    Page 10of15
                                                                                                 Page 50
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 15 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 51 of 100




    Doctors of medicine or osteopathy and other appropriate professional persollllel must be
    available to provide necessary medical and surgical diagnostic and treatment services. If
    medical and surgical diagnostic and treatment services are not available within the
    institution, the institution must have an agreement with an outside source of these
    services to ensure that they are immediately available or a satisfactory agreement must be
    established for transferring patients to a general hospital that participates in the Medicare
    program.

    40.1 • Director of Inpatient Psychiatric Services; Medical Staff
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

    Inpatient psychiatric services must be under the supervision of a clinical director, service
    chief, or equivalent who is qualified to provide the leadership required for an intensive
    treatment program. The number and qualifications of doctors of medicine and osteopathy
    must be adequate to provide essential psychiatric services.

           (1) The clinical director, service chief, or equivalent must meet the training and
    experience requirements for examination by the American Board of Psychiatry and
    Neurology or the American Osteopathic Board of Neurology and Psychiatry.
 -·-·   ------ -···--···--- - - - - - - - - - - - - - - - - - - - -
           (2) The director must monitor and evaluate the quality and appropriateness of
    services and treatment provided by the medical staff.

    40.2- Nursing Services
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

    IPFs must have a qualified director of psychiatric nursing services. In addition to the
    director of nursing, there must be adequate numbers of registered nurses, licensed
    practical nurses, and mental health workers to provide nursing care necessary under each
    patient's active treatment program and to maintain progress notes on each patient.

            ( 1) The director of psychiatric nursing services must be a registered nurse who
    has a master's degree in psychiatric or mental health nursing, or its equivalent from a
    school of nursing accredited by the National League for Nursing, or be qualified by
    education and experience in the care of the mentally ill. The director must demonstrate
    competence to participate in interdisciplinary formulation of individual treatment plans;
    to give skilled nursing care and therapy; and to direct, monitor, and evaluate the nursing
    care furnished.

            (2) The staffing pattern must insure the availability of a registered nurse 24 hours
    each day. There must be adequate numbers of registered nurses, licensed practical
    nurses, and mental health workers to provide the nursing care necessary
    under each patient's active treatment program.

    50 - Psychological Services
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)




                                                                                      EXHIBITC
                                                                                      Page 11 of 15
                                                                                                    Page 51
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 16 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 52 of 100




    The IPF must provide or have available psychological services to meet the needs of the
    patients. The services must be furnished in accordance with acceptable standards of
    practice, service objectives, and established policies and procedures, according to 42 CFR
    412.27 and 42 CFR 482.62.

    60 - Social Services
    (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   There must be a director of social services who monitors and evaluates the quality and
   appropriateness of social services furnished. The services must be furnished in
   accordance with accepted standards of practice and established policies and procedures,
   according to 42 CFR 412.27 and 42 CFR 482.62.

       1. The director of the social work department or service must have a Master's degree
       from an accredited school of social work or must be qualified by education and
       experience in the social services needs of the mentally ill. If the director does not
       hold a Master's degree in social work, at least one staff member must have this
       qualification.

       2. Social service staff responsibilities must include, but are not limited to,
       participating in discharge planning, arranging for follow-up care, and developing
       mechanisms for exchange of appropriate information with sources outside the
       hospital.

   70 - Therapeutic Activities
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   According to 42 CFR 412.27 and 42 CFR 482.62 IPFs must provide a therapeutic
   activities program.

           (1) The program must be appropriate to the needs and interests of patients and be
   directed toward restoring and maintaining optimal levels of physical and psychosocial
   functioning.

           (2) The number of qualified therapists, support personnel, and consultants must
   be adequate to provide comprehensive therapeutic activities consistent with each patient's
   active treatment program.

   80 - Benefit Application
   (Rev. 59, Issued: 11-09-06, Effective: 01-01-05, Implementation: 12-04-06)

   The psychiatric benefit application (190 days) applies to freestanding psychiatric
   hospitals per 42 CPR 409.62. The 190-lifetime limitation does not apply to certified
   psychiatric distinct part units. Section 409.62 states, ''There is a lifetime maximum of
   190 days on inpatient psychiatric hospital services available to any beneficiary.




                                                                                    EXHIBITC
                                                                                    Page 12of15
                                                                                                 Page 52
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 17 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 53 of 100




       Therefore, once an individual receives benefits for 190 days of care in a psychiatric
       hospital, no further benefits of that type are available to that individual."

   Payment may not be made for more than a total of 190 days of inpatient psychiatric
   hospital services during the patient's lifetime. This limitation applies only to services
   furnished in a psychiatric hospital. This limitation does not apply to inpatient psychiatric
   services furnished in a distinct part psychiatric unit of an acute care hospital or CAH.
   The period spent in a psychiatric hospital prior to entitlement does not count against the
   patient's lifetime limitation, even though pre-entitlement days may have been counted
   against the 150 days of eligibility in the first benefit period.

   The CWF keeps track of days paid for inpatient psychiatric services and informs the AJB
   MAC (A) on claims where the 190-day limit is reached.

   For a more detailed description, see Pub. 100-02, Medicare Benefit Policy Manual,
   chapter 3, §30.C. "Lifetime Inpatient Psychiatric Hospital Limitation" and chapter 4, §50
   "Inpatient Psychiatric Hospital Services - Lifetime Limitation" for the 190-day lifetime
   limitation on payment for inpatient psychiatric hospital services. For details concerning
   the pre-entitlement inpatient psychiatric benefit reduction provision see Pub. I 00-02,
   Medicare Benefit Policy Manual, chapter 4, §§ 10 - 50.
   -   - -· -- ·- ------ -

   90 - Benefits Exhaust
   (Rev. 69; Issued: 04-27.-07; Effective: 12-03-07; Implementation: 12-03-07) .

   Effective December 3, 2007, for payment purposes, an IPF discharge occurs when
   benefits exhaust and the benefits exhaust date will substitute for the discharge date. The
   claim will be paid either on the discharge date if the benefits are available or on benefit
   exhaust date if the discharge is after the benefits exhaust date. When the services actually
   are provided, the PRICER version used to price claims for the time will be used. No
   pay/110 TOBs are allowed instead of continually adjusting the claims (117 TOB) until
   actual discharge occurs once benefits exhaust.

   Under the Tax Equity and Fiscal Responsibility Act (fEFRA), the Provider Statistical
   and Reimbursement (PS&R) report used the benefits exhaust date as the discharge date.
   This changed when the IPF PPS was implemented, and the 'actual' discharge date was
   used. The days stay with the year they occurred, making it easier for the PS&R report
   (especially during the blend period) to settle the cost report. This means that:

               I. Claims will be settled on the appropriate cost report;

              2. The appropriate PPS-TEFRA blend percentage will be paid;

              3. Patients with long lengths of stay will be counted on the correct PS&R report;
              and




                                                                                       EXHIBIT C
                                                                                       Page 13of15
                                                                                                  Page 53
             Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 18 of 28
                  Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 54 of 100




                        4. The PRICER version used will be the one in effect at the time the services
                        were provided.




- - - - - - --- --- --- - - - - - - - - - - -




                                                                                              EXHIBIT C
                                                                                              Page 14of15
                                                                                                        Page 54
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 19 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 55 of 100




        Transmittals Issued for this Chapter

     Rev#     Issue Date   Subject                                     ImplDate         CR#

     R223BP 05/13/2016 Clarification of Inpatient Psychiatric          08115/2016       9522
                       Facilities (IPF) Requirements for
                       Certification, Recertification and
                       Delayed/Lapsed Certification and
                       Recertification

     Rl94BP 0910312014     Pub. 100-02 Language-Only Update for        Upon           8605
                           ICD-10                                      Implementation
                                                                       ofICD-10

     Rl81BP 03/14/2014 Pub. 100-02 Language-Only Update for            10/0112014       8605
                       ICD-10 - Rescinded and replaced by
                       Transmittal 194

-R69BP--- 04/2'J/200'J-- Ghange-to-the--Inpatient-Ps-yGhi-atr-ia--F-aGility-- -l-210312001- 5414---
                         Prospective Payment System (IPF PPS)
                         Discharge Bill
 l


     R59BP 11/09/2006 Inpatient Psychiatric Facility Prospective       12/04/2006       5287
                      Payment System (IPF PPS)
 '
     R56BP 11/03/2006 Inpatient Psychiatric Facility Prospective       12/04/2006       5287
                      Payment System (IPF PPS)

     RlBP    10/01/200J Initial Publication of Manual                  NA               NA

       Back to top of Chapter




                                                                                    EXHIBIT C
                                                                                    Page 15of15
                                                                                                      Page 55
               Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 20 of 28
                    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 56 of 100




                             Medicare Claims Processing Manual
                                   Chapter 3 - Inpatient Hospital Billing
                                                         Table of Contents
                                                       (Rev. 3452, 02-04-16)

                    Transmittals for Chapter 3

                    10 - General Inpatient Requirements
                           10.1 - Claim Formats
                           I 0.2 - Focused Medical Review (FMR)
                           10.3 - Spell of Illness
                           10.4 - Payment ofNonphysician Services for Inpatients
                           10.5 - Hospital Inpatient Bundling
- - - - -· -- - - 2Q_,,__f-ayment Under J?rospectiv.e .P..ayment-System-CJ!ES)-Diagnosis.Related-Groups-- ------.
                  (DRGs)
                           20.1 - Hospital Operating Payments Under PPS
                                  20.1.1 - Hospital Wage Index
                                  20.l .2 - Outliers
                                          20.1.2.1 - Cost to Charge Ratios
                                          20.1.2.2 - Statewide Average Cost to Charge Ratios
                                          20.1.2.3 - 'Threshold and Marginal Cost
                                          20.1.2.4 - Transfers
                                          20. l .2.5 - Reconciliation
                                          20.1.2.6 - Time Value of Money
                                          20.1.2.7 -Procedure for Medicare contractors to Perform and
                                          Record Outlier Reconciliation Adjustments
                                          20.1.2.8 - Specific Outlier Payments for Burn Cases
                                          20.1.2.9 - Medical Review and Adjustments
                                          20.1.2.10 - Return Codes for Pricer
                          20.2 - Computer Programs Used to Support Prospective Payment System
                                  20.2.1 - Medicare Code Editor (MCE)
                                          20.2.1.1 - Paying Claims Outside of the MCE


                                                              EXHIBIT

                                                       I         D                                  EXHIBIT D
                                                                                                    Page 1 of 9
                                                                                                              Page 56
     Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 21 of 28
          Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 57 of 100




               160.1 - Special Add-On Payments For New Technologies
                      160.1.1 - Identifying Claims Eligible for the Add-On Payment for New
                      Technology
                       160.1.2 - Remittance Advice Impact
        170 - Billing and Processing Instructions for Religious Nonmedical Health Care
        Institution {RNHCI) Claims
               170.l - RNHCI Election Process
                       170.1.1 - Requirement for RNHCI Election
                       170.1.2 - Revocation of RNHCI Election
                      170.1.3 - Completion of the Notice of Election for RNHCI
                      170.1.4- Common Working File (CWF) Processing of Elections,
                      Revocations and Cancelled Elections
               170.2 - Billing Process for RNHCI Services
                      170.2.l - When to Bill for RNHCI Services
                      170.2.2 - Required Data Elements on Claims for RNHCI Services
               170.3 - RNHCI Claims Processing By the Medicare Contractor with RNHCI
               Specialty Workload
                      170.3. f - RNHCI Claims Not Billed to Original Medicare
               170.4 - Infonning Beneficiaries of the Results ofRNHCI Claims Processing
        180- Processing Claims For Beneficiaries with RNHCI Elections by Contractors without
        RNHCI Specialty Workloads
               180.l - Recording Determinations ofExcepted/Nonexcepted Care on Claim
                      Records
               180.2 - Infonning Beneficiaries of the Results ofExcepted/Nonexcepted Care
               Determinations by the Non-specialty Contractor
!·
I
        190 - Inpatient Psychiatric Facility Prospective Payment System (IPF PPS)
               190.l - Background
               190.2 - Statutory Requirements
               190.3 - Affected Medicare Providers
               190.4 - Federal Per Diem Base Rate
               190.4.l - Standardization Factor
               190.4.2 - Budget Neutrality
                             190.4.2.1 - Budget Neutrality Components
               190.4.3 -Annual Update
               190.4.4 - Calculating the Federal Payment Rate




                                                                                         EXHIBIT D
                                                                                         Page 2 of 9
                                                                                                   Page 57
   Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 22 of 28
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 58 of 100




               190.5 - Patient-Level Adjustments
               190.5.1 -Diagnosis-Related Groups (DRGs) Adjustments
               190.5.2 -Application of Code First
               190.5.3 - Comorbidity Adjustments
               190.5.4 -Age Adjustments
               190.5.5 - Variable Per Diem Adjustments
               190.6 - Facility-Level Adjustments
               190.6.1 - Wage Index
               190.6.2 - Rural Location Adjustment
               190.6.3 - Teaching Status Adjustment
                             190.6.3.1 - Full-Time Equivalent (FfE) Resident Cap
              190.6.3.2 - Reconciliation of Teaching Adjustment on Cost Report
              190.6.4 - Emergency Department (ED) Adjustment
                             190.6.4.1 - Source of Admission for IPF PPS Claims for Payment
------- --- ---- - ----------or:rm Adjustment
                             190.6.5 - Cost-of- Living Adjustment (COLA) for Alaska and
                                    Hawaii
              190.7 - Other Payment Policies
              190.7.l - Interrupted Stays
              190.7.2 - Outlier Policy
                             190.7.2.1 - How to Calculate Outlier Payments
                             190.7.2.2 - Determining the Cost-to-Charge Ratio
                             190.7.2.3 Outlier Reconciliation
                             190.7.2.4. Time Value of Money
                             190.7.2.5 - Procedures for Medicare Contractors to Perform and
                             Record Outlier Reconciliation Adjustments
              190.7.3 - Electroconvulsive Therapy(ECT) Payment
              190. 7.4 -Stop Loss Provision (Transition Period Only)
              190.8 -Transition (Phase-In Implementation)
              190.8.1 - Implementation Date for Provider
              190.9-Definition ofNew IPF Providers Versus TEFRA Providers
              190.9.1 - New Providers Defined
              190.10 - Claims Processing Requirements Under IPF PPS




                                                                                       EXHIBIT D
                                                                                       Page 3of9
                                                                                               Page 58
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 23 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 59 of 100




        •   Hospitals that are reimbursed in accordance with demonstration projects
            authorized under §402(a) of Pub. L. 90-248 (42 U.S. C. 1395b-l) or §222(a) of
            Pub. L. 92-603 (42 U.S. C. 1395b-1); See 42 CFR 412.22 (c). IPFs in acute care
            hospitals that participate in demonstration projects are paid in accordance with the
            demonstration project;

        •   Nonparticipating hospitals furnishing emergency services to Medicare
            beneficiaries are paid in accordance with 42 CFR 412. 22 (c).

        •   Payment to foreign hospitals is made in accordance with the provisions set forth in
            42 CFR413.74.

    190.4 - Federal Per Diem Base Rate
    (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

     Payments to IPFs under the IPF PPS are based on a single Federal per diem base rate
     computed from both the inpatient operating and capital-related costs of IPFs (including
     routine and ancillary services), but not certain pass-through costs (i.e., bad debts, direct
-- - graduate-medical- ~usatien,and-nill'Bing-and-allied-health-edusatien},----- ---------- --- --

    The Federal per diem payment under the IPF PPS is comprised of the Federal per diem
    base rate (which is broken into a labor-related share and a non-labor-related share) and
    applicable patient and facility adjustments that are described in §§190.5 and 190.6.

    The standardized Federal per diem base rates and adjustment factors are updated July 1
    every year, beginning July 1, 2006. For the updated standardized Federal per diem base
    rates for subsequent years refer to the Federal Register rules and accompanying
    Recurring Update Notifications. See
    htto://www.cms.gov/Medicare/Medicare~Fee-for-Service­
    Payment/InpatientPsychFacilPPS/IPF-PPS-Regulations-and~Notices.html


    190.4.1 - Standardization Factor
    (Rev.1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

   The CMS standardized the IPF PPS Federal per diem base rate in order to account for the
   overall positive effects of the IPF PPS payment adjustment factors. To standardize the
   IPF PPS payments, CMS compared the IPF PPS payment amounts calculated from the FY
   2002 MedPAR file to the projected TEFRA payments from the FY 2002 cost report file
   updated to the midpoint of the IPF PPS implementation period (that is, October 2005).
   The standardization factor was calculated by dividing total estimated payments under the
   TEFRA payment system by estimated payments under the IPF PPS. CMS then applied
   this factor to the average per diem cost of an IPF stay.

   190.4.2 - Budget Neutrality
   (Rev.1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)



                                                                                         EXHIBIT D
                                                                                         Page 4 of 9
                                                                                                   Page 59
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 24 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 60 of 100




     Description of Comorbidity                                                          Adjustment Factor
     Gangrene                                                                                  1.10
     Chronic Obstructive Pulmonary Disease                                                     1.12
     Artificial Openings - Digestive and Urinary                                               1.08
    Severe Musculoskeletal and Connective                                                      1.09
    Tissue Diseases
    Poisoning                                                                                  1.11

   190.5.4 - Age Adjustments
   (Rev. 1101, Issued: 11..()3..()6, Effective: 01-01-05, Implementation: 12-04..()6)

   The IPF PPS has an age adjustment with 9 age categories; under 45, over 80, and
   categories in 5 year groupings in between. IPFs receive this adjustment for each day of
   the stay. The age adjustment is determined based on the age at admission and does not
   change regardless of the length of stay.

         -~_::;·~;-~ :··>t-~~r         ---: /~_];:~ -~::-   c        -           __ ,_


           . -- -   -   .------:-- -         :-.~- -        -   ~-       -   -   :.{~

          Under45                                 1.00
          45 and under 50                         1.01
          50 and under 55                         1.02
          55 and under 60                         1.04
          60 and under 65                         1.07
          65 and under 70                         1.10
          70 and under 75                         1.13
          75 and under 80                         1.15
        · 80 and over                             1.17

   190.S.5 - Variable Per Diem Adjustments
   (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

   The variable per diem adjustments account for the ancillary and certain administrative
   costs that occur disproportionately in the first days after admission to an IPF. The variable
   per diem adjustments decline each day of the patient's stay through day 21. After day 21,
   the adjustments remain the same each day for the remainder of the stay.




         Day 1 - Facility Without a Qualifying
         Emergency Department




                                                                                                             EXHIBIT D
                                                                                                             Page 5 of 9
                                                                                                                           Page 60
          Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 25 of 28
               Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 61 of 100




                   f:z:r~~~~~::~l-:~ -:~::~~~~~Y~~~~\;~;;~-~;~~t~~~~~ ~~:~:+~~;~;--c-;-:~:~~~:~-~ ~-~~.:~=ifiii;
                    Day 1 - Facility With a Qualifying Emergency                           1.31
                    Department
                    Day2                                                                   1.12
                    Day3                                                                   1.08
                    Day4                                                                   1.05
                    Day5                                                                   1.04
                    Day6                                                                   1.02
                    Day?                                                                   1.01
                    Day8                                                                   1.01
                    Day9                                                                   1.00
                    Day 10                                                                 1.00
                    Day 11                                                                 0.99
                    Day 12                                                                0.99
-----·--··----·- -oay n - · - - - - -                                                      0.99         ---

                    Day 14                                                                 0.99
                    Day 15                                                                 0.98
                    Day16                                                                  0.97
                    Day 17                                                                0.97
                    Day18                                                                 0.96
                    Day 19                                                                0.95
                   Day20                                                                  0.95
                   Day21                                                                  0.95
                   Over 21                                                                0.92

                    *The adjustment for day 1 would be 1.31 or 1.19 depending on whether the JPF
                    has a qualifying emergency department or is a psychiatric unit in an acute care
                    hospital or CAH with a qualifying emergency department (see§ 190.6.4).

             190.6 - Facility-Level Adjustments
             (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

             Facility-level adjustments include the hospital wage index, a rural location adjustment, a
             teaching status adjustment, an emergency department adjustment for qualifying EDs, and
             a cost-of-living adjustment for JPFs located in Alaska and Hawaii.

             190.6.1 - Wage Index



                                                                                                      EXHIBIT D
                                                                                                      Page 6of9
                                                                                                                   Page 61
            Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 26 of 28
                 Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 62 of 100




                      (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

                     The wage index accounts for the geographic differences in labor costs. The IPF PPS uses
                     the unadjusted. pre-floor, pre-reclassified hospital wage index in effect on July 1 of each
                     year. The wage index is applied to the labor-related share of the Federal per diem base
                     rate.

                     Core-Based Statistical Area (CBSA) designations are used for assigning a wage index
                     value for discharges occurring on or after July 1, 2006. Updates to the IPF PPS wage
                     index are made in a budget neutral manner. CMS calculates a budget-neutral wage index
                     adjustment factor by comparing estimated payments under the previous wage index to
                     estimated payments under the updated wage index. This factor is applied in the update to
                     the Federal per diem base rate.

                     190.6.2 - Rural Location Adjustment
                     (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

                     There is a 17 percent adjustment if a facility is located in a rural area. The IPF PPS
                     defines urban and rural areas at 42 CFR 412.402.
----·-·-·   ..   -··· ----··- -   -~-----·-------                      -------------·-----
                 ~   190.6.3 - Teaching Status Adjustment
                     (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

                     IPFs that train interns and residents receive a facility-level adjustment to the Federal per
                     diem base rate. The cost of direct graduate medical education (DGME) and nursing and
                     allied health education are not paid through the IPF PPS.

                     PRICER calculates the adjustment by adding 1 to the ratio of interns and residents to the
                     average daily census (ADC), and then raising that sum to the 0.5150 power.

                     The number of interns and residents is capped at the level indicated on the latest cost
                     report submitted by the IPF prior to November 15, 2004. (See §190.6.3.l for more
                     detailed instructions for the FTE Resident Cap).

                     For beneficiaries enrolled in a Medicare Advantage plan, IPFs may bill for DGME and
                     nursing and allied health education costs. There is no authority to pay teaching status
                     adjustment to IPFs for Medicare Advantage beneficiaries, as is done under the IPPS.

                     190.6.3.1 - Full-Time Equivalent (FfE) Resident Cap
                     (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

                     There is a cap on the number of FTE residents that may be counted for purposes of
                     calculating the teaching adjustment. There is no limit to the number of residents teaching
                     institutions can hire or train. There is only a limit to the number of residents who may be
                     counted in calculation of the IPF PPS teaching adjustment. The cap is the number ofFTE
                     residents that trained in the IPF during a base year.



                                                                                                           EXHIBIT D
                                                                                                           Page 7 of 9
                                                                                                                     Page 62
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 27 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 63 of 100




           •   Medicare provider number ranges for IPFs are from xx-4000 - xx-4499, xx-
               Sxxx, and xx-Mxxx; {NOTE: Implementation of NPI will change this.)

           •· The IPF must correctly code diagnoses for the principal diagnosis, and up to
              twenty four additional diagnoses, if applicable;

           •   The IPF must correctly code one principal procedure and up to twenty four
               additional procedures performed during the stay;

           •   The IPF must also code age, sex, and patient (discharge) status of the patient
               on the claim; using standard inpatient coding rules; and

           • An IPF distinct part must code source of admission code "D" on incoming
               transfers from the acute care area of the same hospital to avoid overpayment of
               the emergency department adjustment when the acute area has billed or will be
               billing for covered services for the same inpatient admission.

   Other general requirements for processing Medicare Part A inpatient claims described in
   Chapter 25 of this manual apply.

   CMS' hospital inpatient GROUPER applicable to the discharge date (or effective
   December 3, 2007, benefits exhaust date, if present) on the claim will determine the
   DRG/MS-DRG assignment.

   190.10.2 - Billing Period
   (Rev.1231; Issued: 04-27-07; Effective: 12-03-07; Implementation: 12-03-07)
   When the patient has Medicare benefits, IPF providers will submit one admit through
   discharge claim for the stay upon discharge. IPFs may interim bill in 60-day intervals
   following the instructions in chapter 1, §50.2 of this manual should the patient's stay be
   exceptionally long. Final PPS payment is based upon the date of physical discharge or
   death, or the date benefits exhausted (effective December 3, 2007).

   IPFs can submit adjustment claims, but late charge claims will not be allowed, e.g., the
   adjustment claim must include all charges and services and must replace the earlier
   claim(s) instead of including only the additional charges and services.

   In situations when a patient falls below a skilled level ofcare, IPFs should submit a 112
   TOB with both an Occurrence Code 22 (Date active care ended) and patient status cOde 30
   (Still a patient). IPFs should then continue to submit subsequent interim 117 TOBs, as
   appropriate, with the patient status code 30 and the c01Tect Occurrence Span Codes that
   identify payment liability (codes 76 or 77).

  Effective December 3, 2007, once the patient's Medicare benefit's exhaust, the IPF is
  allowed to submit no-pay bills (TOB 110), with a Patient Status Code of 30 every 60 days,
  until the patient is physically discharged or dies. The last bill shall contain a discharge




                                                                                        EXHIBIT D
                                                                                        Page 8 of 9
                                                                                                      Page 63
Case 3:16-cv-02065-YY *SEALED* Document 1-1 Filed 10/27/16 Page 28 of 28
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 64 of 100




   patient status code. IPFs no longer need to continually adjust claims once benefits
   exhaust.

   190.10.3 - Patient Status Coding
   (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

   All patient status (i.e., discharge disposition) codes for 1lX TOB are valid, but there are
   no special payment policies related to transfer codes; for example, discounted or per diem
   payments in transfer situations. The same patient status codes applicable under inpatient
   PPS for same day transfers (with Condition Code 40) are applicable under IPF PPS.

   190.10.4- Reporting ECT Treatments
   (Rev. 3030, Issued: 08-22-14, Effective: ASC X12: January 1, 2012, ICD-10: Upon
   Implementation of ICD -10, Implementation: ICD -10: Upon Implementation of ICD
   -10, ASC X12: September, 23 2014)

   IPFs must report on their claims under Revenue Code 0901, along with the total nwnber
   ofECT treatments provided to the patient during their IPF stay listed under "Service
   Units." Providers will code ICD-9-CM procedure code 94.27 ifICD-9-CM is applicable,
   or, eff.ective.with-the.implementation- of-ICD-lOrthe-ICD-1-0-P-CS-codes-listed-below.are----- -
   reported in the procedure code field, and for the procedure date will use the date of the last
   ECT treatment the patient received during their IPF stay.

   ICD-10-PCS Code and Description

   GZBOZZZ - Electroconvulsive Therapy, Unilateral-Single Seizure
   GZB lZZZ - Electroconvulsive Therapy, Unilateral-Multiple Seizure
   GZB2ZZZ - Electroconvulsive Therapy, Bilateral-Single Seizure
   GZB3ZZZ - Electroconvulsive Therapy, Bilateral-Muliple Seizure
   GZB4ZZZ - Other Electroconvulsive Therapy

   190.10.5 - Outpatient Services Treated as Inpatient Services
   (Rev.1101, Issued: 11-03-06, Effective: 01-01-05, Implementation: 12-04-06)

   IPFs are subject to the 1-day payment window for outpatient bundling rules. Refer to
   chapter 3, §40.3 of this manual for more information on bundling rules.

  190.10.6 - Patient is a Member of a Medicare Advantage Organization
  for Only a Portion of a Billing Period
   (Rev. 1101, Issued: 11-03-06, Effective: 01-01-05, Implementation:      12-04~06)

  The payer at the time of the patient's admission to an IPF is responsible for the cost of the
  entire stay. This could occur for patients who move from traditional Medicare to a
  Medicare Advantage plan or vice versa.




                                                                                         EXHIBIT D
                                                                                         Page 9 of 9
                                                                                                       Page 64
                          Case 3:16-cv-02065-YY *SEALED* Document 1-2 Filed 10/27/16 Page 1 of 1
                              Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 65 of 100
                                                                     FILED IN CAMERA AND UNDER SEAL                                                                                     rlr'T '161S:2RUSDC-0RP
JS 44 (Rev 07 16)                                                                 CIVIL COVER SHEET                                                                  FILED2? _,._,                      ·- -
The JS 44 ci\'il co\'er sheet and the information contained herein neither replace nor supplement the tiling and serv·ice of pleadings or other papers as required by law. except as
provided b.>: l~al_ rules of_coun. This form. approved by the Judicial Confcn.'tlCc of the United States in September 1974. is T\.'qUired for the U!IC of the Clerk of Court for the
purpose of imllalmg the cm) docket sheet. !SEE l.V.ITRUCTIO.\'.'i O.Y Nf:AT P.WE OF TllJS FOR.\f.J

I. (a) PLAINTIFFS                                                                                                               DEFENDANTS
United States of America ex rel Carrie Eborall                                                                                 Universal Health Services, Inc.

      (b) County ofResidcnce of First Listed Plaintiff                                                                          County of Residence of First Listed Defendant                  _M_u_l_t_no_m_ah
                                                                                                                                                                                                            ________
                                   !EXCEPT l.Y r:.s. PU/,\7/FF C4SESJ                                                                                             ti.\"   t:.s. PU/NT/FF CASES ON/.li
                                                                                                                                NCH f.:     IN LAND CONDEMNA llON C' ASES, USE THf. J.OCA TION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

      ( C) Anomeys IFwnr .Vanre. Address, and Teleµho11e N11mberi                                                                Anomcys 1~f1'nown1

Brian Mahany, 8112 W. Bluemound Rd, Suite 101, Wauwatosa, WI
53213

II. BASIS OF JURISDICTION 1Placean "X"mOneBoxOn{l'i                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES tPlacc an '"X"' in One Box.for Plamtiff
                                                                                                                        1For Diw:rsity Cases On(1·1                                                         and One Bo.~ for Defendanll
~I       U.S Gowmmenl                     CJ 3 Federal Question                                                                                        PTF            m:F                                                       PTF       OH
            Plaintiff                            1C:.S. Go1·ernnrent Not a Par/}"/                             Ciuzen of This Stale                    ::J I          ::J I          Incorporated or Principal Place             ::J -I   CJ -I
                                                                                                                                                                                       ofBu.•iness In This Stale

::J 2    U.S. Gowmmenl                     CJ -I    Di,·crsity                                                 Cicizen of Another State                                              Incorporated and Principal Ploce                     CJ 5
            Defendant                                 1/ndicate Citi:en.•hip o_(Parlies in /rem 11/J                                                                                    of Business In Another State

                                                                                                               Ciuzen or Subje<I of a                                     ::J    3   Foreign Nalion                              CJ 6     CJ 6
                                                                                                                     1-'on~t     Counarv
IV. NATURE OF SUIT !Place an "X"' in OneBoxOn(rl

::J   I I 0 lmurance                           PERSONAi, ll'iJl!R\"             PERSONAi. INJl'.RY             CJ 625 Drug Related Seizure                    CJ 422 Appeal 28 USC 158                      CJ 375 False Claims Act
CJ    120 Manne                          '.J 3!0Auplane                      ::J J65Personallnjurv -                  ofPropeny21 USC88l                      CJ 423\Vithdrawal                             ~ J76QuiTam{3l USC
:J    130 Miller Ae1                     ::J 315 Airplane Producl                   Product L1abili1y          CJ 690 Other                                                     28 USC 157                           3729(a))
::J   140 Negouable lnsmunent                      Liability                 CJ 367 Health Care                                                                                                             D -100 State Reappon1011D1en1
CJ    I SO Reco\'<ry of Overpavmcnl      ::J   320 A•sault. Libel &                 Pharmaca11Jcal                                                                                                          CJ -I 10 Anlilru•I
            & Enfon:emenl of Jud gmenl             Slander                          p.,.....,na1   lnj~·                                                      CJ 820 Copyrights                             CJ -130 Danks and Banking
'J    15 l Medicare Acl                  ·1    330 Federal Emplovers                Produc1 babihty                                                           n    830 Paten!                               :J -150 Commerce
CJ    152 Rc:co\"cry ofDc:faultc:d                 LcabihlY                  CJ 368 Asbc>tos Pcnonal                                                          D 840 Trademark                               CJ -160 Dq>orumon
            Student Loans                J     340 Marine                            lnJW")' Producl                                                                                                        n    4 70 Racketett lnfluc:nccd and

n
            (Excludes VclL-rans)
      I 53 Reco\'cry of Owrpo)ment
                                         1     345 Marine Product
                                                   J.iabilily
                                                                                    l.iabihtv     t:=::=I;iiWi===:jt:;Jii;iiijJlii:iiJiitL==l
                                                                               PERSONAi. PROPERTI' ,, 710 Fair tabor Saandards CJ 861 lllA ( 139511)
                                                                                                                                                            Conupt Organwllions
                                                                                                                                                     :J 480 C'on•umer Credit
            ofVetcran·s Benefits         :'J   350 Mocor Vehicle             :"1 370 Other Fraud                               Act                            n    862 Black Lung (923)                     ::l -190 Cable Sat TV
CJ    160 Stockholder• Suits             ::J   355 Motor Vehicle             CJ 371 Truth m Lending            CJ 720 LaborManagemenl                         CJ 863 DIWC·DIWW (-I0.5(g))                   ::J 850 Sccurities·Commodities
'.1   190 Other Con tract                          Product Liability         [I 380 Olher Personal                             Relations                      0 86-1 SSID Tnle XVI                                   fachange
:J    f 95 Contract Product Llabihtv     CJ    360 Other Pen;onal                   Propelt\" Damage           ;'.J 7-IO Ra1lwa~· Labor Act                   0 865 RSI (405(g))                            'J 890 Other Statutorv Actions
::J   196 Franchise                                 lnJ~'                    0 385 Property Damage             ::J 751 Fanulv and Medical                                                                   CJ 891 Agncuhural Acts
                                         ::J 362 Pmonal lnJlll}' -                  Product L1abi111y                          Lea\"e Act                                                                   :J   893 Envcrorurumtal Man•rs

[==Jiw:EiifiiiL=::::l=:iaMIJlcdic~·ia~lMaWl~ItL:c:e::iOiiiiijijjjffiii!Bj::( CJ0                                     790 Other Labor Li1iga1ion
                                                                                                                     791 Employee Retirement                  l::iiiiiiw~'1iliiiii:::1                      D 895 freedom of Information
                                                                                                                                                                                                                    Act
:J 2 IO Land Condemnation                ::J -l40 Other C1\'il Rights           Habds Corpas:                            Income Security Act                  CJ 870 Taxes (U S. Plaintiff                  CJ 896 Arb11ration
CJ 220 Foreclosure                       0   -loll VOiing                    CJ -163 Alien Detainee                                                                 or Defendant)                           0 899 Administrative Procedure
D 230 Reul Lease & EJCC1men1             CJ  -1-12 Emplo~ment                D 510 Motions to \"acate                                                         D 871 IRS-Third Party                                 Acl'Review or Appeal of
i'.l 240 Torts to I.and                  'J  -1-13 Housing                          Scn1cnce                                                                         26 lJSC 7609                                   Agency Decision
CJ 245 Ton Product Liability                       Accommodations            D 530 General                                                                                                                  ::J 950 Constitunonahty of
CJ 290 All Other Real Properly           'J -1-15 Amer. W·'Dcsabililies ·    CJ 535 Death Penalty                                                                                                                   Slate Statutes
                                                   Employment                   Otb~r:                         Cl -162 Naturalitation Applicauon
                                         ::l -1-16 Amc-r. w!Disabilities ·   CJ 540 Mandamus & Other           r:J-165 Other lnunigrauon
                                                   Other                     CJ 550 C:i\il Righb                       Acuoru.
                                         :J -1-18 Education                  'J 555 Pnson Condition
                                                                             'J 560 C'i\'il Detamc-e -
                                                                                    Conditions of
                                                                                    Confinement

V. ORIGIN !Placean ""X"'inOne8oxOn~1·1
0 I Original                0 2 Remo\'ed from                    0    3      Remanded from                 0 4 Reinstated or                0 5 Transferred from                     0 6 Multidistrict                 0 8 Multidistrict
          Proceeding              State Court                                Appellate Court                    Reopened                         Another Districl                            Litigalion -                    Litigation -
                                                                                                                                                 /s   cifyJ                                  Transfer                        Dir.;,'\ File
                                                Cite the U.S. Ci\' ii Statute under which you are filing              (Do not cit" j11ri•dictional B•hltn •nl"" ditwsity):
                                                 31USC3729
VI. CAUSE OF ACTION i-B-n-.e-fd...e...s c n - . p - l i o _ n _ o _ f _ c a _ u _ s e _ : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                   Fraudulent Medicare and TRICARE billing
VII. REQUESTED IN     0                               CHECK IF TIUS IS A CLASS ACTION                                 DEMANDS                                                     CHECK YES only if demanded in complaint;
     COMPLAINT:                                       UNDER Rlll.E 23, F.R.Cv P.                                                                                                  JURY DEMAND:                    ){ Yes         0 No
VIII. RELATED CASE(S)
                                                    (See inln1u:tionsJ:
      IFANY                                                                  JUDGE                                                                                  DOCKET NUMBER
DATE                                                                            SIGNA11JRE OF AITORNEY OF RECORD
10/21/2016                                                                     Brian H. Mahany
FOR OFFICE USE ONLY

      RECEIPT•                     AMOUNT                                           APPL YING lfP                                              JUDGE                                         MAG.JUDGE
                                                                                                                                                                                                                             Page 65
            Case 3:16-cv-02065-YY *SEALED* Document 2 Filed 10/27/16 Page 1 of 2
'              Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 66 of 100




    Russell D. Garrett, OSB # 882111
    E-mail: russ.garrett@jordanramis.com
    Roger A. Lenneberg, OSB # 842733
    E-mail: roger.lenneberg@jordanramis.com                          FILEDC"? l):T '1615e'(USDC·ORP
    JORDAN RAMIS PC
    Attorneys at Law
    Two Centerpointe Dr 61h Flr
    Lake Oswego OR 97035
    Telephone: (503) 598-7070
           Attorneys for Plaintiff Carrie Eborall




                                  UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION

    UNITED STATES OF AMERICA, ex rel.                      Case No. 3 · / 6- C.//- 2-CJ(:, 5 -          YY
    CARRIE EBORALL,
                                                           PLAINTIFFS' MOTION TO FILE
                    Plaintiffs,                            UNDER SEAL

             V.
                                                           [FILED IN CAMERA AND UNDER
    UNIVERSAL HEAL TH SERVICES, INC.;                      SEAL]
    CEDAR HILLS HOSPITAL; and UBH OF
    OREGON, LLC,

                    Defendants.




             Pursuant to LR 3-6(1) and 31 U.S.C. §3730(b), plaintiff moves for an order sealing this

    proceeding.

    Ill/I

    Ill/I

    /Ill/

    Page 1 -PLAINTIFF'S MOTION TO FILE
    UNDER SEAL                                                              53518-75290 2~31092_1RMH1027 2016




                                                                                                          Page 66
      Case 3:16-cv-02065-YY *SEALED* Document 2 Filed 10/27/16 Page 2 of 2
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 67 of 100




       This motion is supported by the Memorandum in Support of Plaintiff's Motion to File

Under Seal filed herewith.

       Dated this 27th day of October, 2016.

                                           JORDAN RAMIS P




                                           By:-r---~=-~--D,,.,::;---­
                                           RU SELL D. GARRETT,
                                           russ.garrett@jordanramis.com
                                           ROGER A. LENNEBERG, OSB # 842733
                                           roger.lenneberg@jordanramis.com
                                           Two Centerpointe Dr 6th Fir
                                           Lake Oswego OR 97035
                                           Telephone: (503) 598-7070
                                               Attorney( s) for Plaintiff Carrie Eborall



                                               Brian H. Mahany, WI Bar# 1065623
                                               E-mail: brian@mahanylaw.com
                                               MAHANY LAW
                                               8112 West Bluemound Rd, Ste 101
                                               Wausatosa WI 53213
                                               Telephone: (414) 258-2375
                                                      Anticipated Pro Hae Vice Attorneys for
                                                      Plaintiff Carrie Eborall




Page 2-PLAINTIFF'S MOTION TO FILE
UNDER SEAL                                                              53518-75290 2./31092_1'.RMH1012712016




                                                                                                          Page 67
. 4       Case 3:16-cv-02065-YY *SEALED* Document 2-1 Filed 10/27/16 Page 1 of 2
              Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 68 of 100




      Russell D. Garrett, OSB # 882111
      E-mail: russ.garrett@jordanramis.com
      Roger A. Lenneberg, OSB # 842733
      E-mail: roger.lenneberg@jordanramis.com                  FILED27 OCT '1 t• 15:271JSDC·ffiP
      JORDAN RAMIS PC
      Attorneys at Law
      Two Centerpointe Dr 61h Flr
      Lake Oswego OR 97035
      Telephone: (503) 598-7070
             Attorneys for Plaintiff Carrie Eborall




                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                           PORTLAND DIVISION

      UNITED STATES OF AMERICA, ex rel.                       Case No .   ...2 .· /6-t!tl-206G-- Y/
      CARRIE EBORALL,
                                                              MEMORANDUM IN SUPPORT OF
                     Plaintiffs,                              PLAINTIFFS' MOTION TO FILE
                                                              UNDER SEAL
             v.

      UNIVERSAL HEALTH SERVICES, INC.;                        [FILED IN CAMERA AND UNDER
      CEDAR HILLS HOSPITAL; and UBH OF                        SEAL]
      OREGON, LLC,

                     Defendants.



             LR 3-6 provides in pertinent part:

                     (a) At the time a complaint is presented for filing, any party

                     seeking to file the case under seal must either:

                     (1) File a motion and supporting memorandum requesting the

                     Court to seal the case. Pending the Court's ruling on the motion to

      Page 1 - MEMORANDUM IN SUPPORT OF PLAINTIFFS'
      MOTION TO FILE UNDER SEAL                                                   53518-75290 2431095_1IRMH10/27 2016




                                                                                                                  Page 68
     Case 3:16-cv-02065-YY *SEALED* Document 2-1 Filed 10/27/16 Page 2 of 2
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 69 of 100




               seal, the case, complaint, and motion will be withheld from the

               public record(.)

       This is a Qui Tam proceeding brought under 31 U.S.C. §3729, et. seq. A Qui Tam

complaint must be filed under seal. 31 U.S.C. §3730(b)(2) provides in pertinent part: "The

complaint shall be filed in camera, shall remain under seal/or at least 60 days, and shall not be

served on the defendant until the court so orders. The Government may elect to intervene and

proceed with the action within 60 days after it receives both the complaint and the material

evidence and information." (Emphasis added.)

       Dated this 27th day of October, 2016.




                                               By:...L-~~~~~~~~~~~~~
                                             RUSSELL D. GARRETT, OSB # 882111
                                             russ.garrett@jordanramis.com
                                             ROGER A. LENNEBERG, OSB # 842733
                                             roger.lenneberg@jordanramis.com
                                             Two Centerpointe Dr 6th Flr
                                             Lake Oswego OR 97035
                                             Telephone: (503) 598-7070
                                                 Attorney( s) for Plaintiff Carrie Eborall



                                               Brian H. Mahany, WI Bar# 1065623
                                               E-mail: brian@mahanylaw.com
                                               MAHANY LAW
                                               8112 West Bluemound Rd, Ste 101
                                               Wausatosa WI 53213
                                               Telephone: (414) 258-2375
                                                      Anticipated Pro Hae Vice Attorneys for
                                                      Plaintiff Carrie Eborall




Page 2 -MEMORANDUM IN SUPPORT OF PLAINTIFFS'
MOTION TO FILE UNDER SEAL                                               53518-75290 2./31095_I 'RMH 10/27 2016



                                                                                                           Page 69
     Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 1 of 7
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 70 of 100




                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA, et al.                             Case No.: 3:16−cv−02065−YY
                                                             *SEALED*
Plaintiff(s),

v.

UNIVERSAL HEALTH SERVICES, INC., et
al.
Defendant(s).

                                                     /

                                    Civil Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the Portland Division of the U.S.
District Court for the District of Oregon and assigned to:




2.    Courtroom Deputy Clerk: Questions about the status or scheduling of this case should be
directed to:

           Trish Hunt
           Telephone: 503−326−8057
           Email: trish_hunt@ord.uscourts.gov

3.   Case Administrator/Docket Clerk: Questions about filings or docket entries in this case
should be directed to:

           Telephone: 503−326−8050

4.    Place of Filing: Any paper filings must be submitted to the Clerk of Court, Mark O. Hatfield
U.S. Courthouse, 1000 S.W. Third Ave., Portland, OR, 97204. (See LR 3−1, LR 5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

6.    Jurisdictional Authority of Magistrate Judges:

      a.    Pretrial Administration: Pursuant to LR 72, the assigned United States Magistrate Judge
is authorized to conduct all pretrial proceedings contemplated by 28 U.S.C. § 636(b) and Fed. R. Civ.
P. 72 without further designation of the Court.




                                                                                                          Page 70
   Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 2 of 7
      Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 71 of 100




      b.    Trial by Consent and Appeal Options: Pursuant to LR 73, 28 U.S.C. § 636(c), and Fed.
R. Civ. P. 73, all United States Magistrate Judges in this district are certified to exercise civil
jurisdiction in assigned cases and, with the consent of the parties, enter final orders on dispositive
motions, conduct trial, and enter final judgment which may be appealed directly to the Ninth Circuit
Court of Appeals (instead of a district judge).

     Parties are encouraged to consent to the jurisdiction of a Magistrate Judge by signing and filing
the (attached) Consent to Jurisdiction by a United States Magistrate Judge and Designation of the
Normal Appeal Route. (See LR 5−5(c).) There will be no adverse consequences if a party elects not to
consent to a Magistrate Judge. A Magistrate Judge, however, may be able to resolve a case earlier as
they are primarily assigned only to civil cases.

    Additional information about United States Magistrate Judges in the District of Oregon is
available on the Court's website.

DATED: October 27, 2016                             MARY L. MORAN
                                                    Clerk of Court

                                                by: /s/ C. Brost
                                                    C. Brost, Deputy Clerk




                                                                                                         Page 71
     Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 3 of 7
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 72 of 100




                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA, et al.                             Case No.: 3:16−cv−02065−YY
                                                             *SEALED*
Plaintiff(s),

v.

UNIVERSAL HEALTH SERVICES, INC., et
al.
Defendant(s).

                                                    /

                             Discovery and Pretrial Scheduling Order

To facilitate discovery and the effective management of this case, the Court orders that:

1.    Discovery and Pretrial Deadlines: Unless otherwise ordered by the Court, the parties shall,

      a.    within 120 days of this Order:
            i.   File all pleadings pursuant to Fed. R. Civ. P. 7(a) and 15;
            ii. Join all claims, remedies, and parties pursuant to Fed. R. Civ. P. 18 and 19;
            iii. File all pretrial, discovery, and dispositive motions;
            iv. Complete all discovery; and
            v. Confer as to Alternate Dispute Resolution pursuant to LR 16−4(c).

      b.    within 150 days of this Order:
            i.   File a Joint ADR Report pursuant to LR 16−4(d); and
            ii. File a Proposed Pretrial Order pursuant to LR 16−5.
2.     Corporate Disclosure Statement: In accordance with Fed. R. Civ. P. 7.1 and LR 7.1−1, any
non−governmental corporate party must file a corporate disclosure statement concurrently with its
first appearance (See also LR 83−9).

3.    Initial Conference of Counsel for Discovery Planning:

     a.     Except in cases exempted under Fed. R. Civ. P. 26(a)(1)(B), upon learning the identity of
counsel for Defendant(s), counsel for the Plaintiff(s) must initiate communications with counsel for
Defendant(s).

       b.    All counsel must then confer as required by Fed. R. Civ. P. 26(f) within thirty (30) days
after a defendant files a responsive pleading or a motion under Fed. R. Civ. P. 12. (See LR 26−1.)

      c.    Counsel should also discuss their client's positions regarding:

            i.   Consent to a Magistrate Judge; and
            ii. Alternate Dispute Resolution options. ADR options include judicial settlement
conferences or Court−sponsored mediation with highly qualified lawyer−mediators. Court−sponsored
mediators agree to conduct mediation without cost to the Court or parties for four (4) hours, exclusive



                                                                                                          Page 72
   Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 4 of 7
      Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 73 of 100




of preparation and travel time to and from the agreed location for mediation. Parties are encouraged to
visit the Court's website for additional ADR information, including mediator biographies,
subject−matter expertise, and contact information.

      d.    If counsel for all of the parties agree to forgo the initial disclosures required by Fed. R.
Civ. P. 26(a)(1), they shall file with the Court the Fed. R. Civ. P. 26(a) Discovery Agreement form
issued with this order (See LR 26−2). Whether or not the parties agree to forgo the initial disclosures,
they may seek discovery once the initial conference of counsel for discovery planning contemplated
by Fed. R. Civ. P. 26(f) has occurred. (See LR 26−1.)

4.    Rule 16 Court Conference for Scheduling and Planning: Counsel for Plaintiff(s) and for
Defendant(s) must, during or promptly after the conference of counsel referred to in section 3 above,
contact the assigned judge's courtroom deputy clerk to schedule a Rule 16 Conference for scheduling
and planning. (See LR 16−2.)

At the Rule 16 Conference, the parties must be prepared to discuss discovery, whether there is consent
to a Magistrate Judge, and any scheduling or other issues, including any requested modifications to
the initial scheduling order set forth in section 1 above, and possible submission of trial exhibits
electronically (See LR 5−6(b)).

5.    Service of this Order: Counsel for the Plaintiff (the "filing party") must serve this order and all
attachments upon all other parties to the action. (In cases removed to this Court, the removing
defendant is considered the "filing party.") (See LR 3−5.) A pro se filing party is required to serve this
order and all attachments upon all other parties to the action.

DATED: October 27, 2016                               MARY L. MORAN
                                                      Clerk of Court

                                                 by: /s/ C. Brost
                                                      C. Brost, Deputy Clerk




                                                                                                             Page 73
     Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 5 of 7
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 74 of 100




                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA, et al.                           Case No.: 3:16−cv−02065−YY
                                                           *SEALED*
Plaintiff(s),

v.

UNIVERSAL HEALTH SERVICES, INC., et
al.
Defendant(s).

                                                   /

                             Fed. R. Civ. P. 26(a)(1) Discovery Agreement

      Pursuant to LR 26−2, I state that the parties who have been served and who are not in default
have agreed to forgo the disclosures required by Fed. R. Civ. P. 26(a)(1).

DATED:


                      Signature:

          Name and OSB ID:

                E−mail Address:

                    Firm Name:

                Mailing Address:

                 City, State, Zip:

         Parties Represented:



cc: Counsel of Record




                                                                                                      Page 74
     Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 6 of 7
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 75 of 100




                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA, et al.                             Case No.: 3:16−cv−02065−YY
                                                             *SEALED*
Plaintiff(s),

v.

UNIVERSAL HEALTH SERVICES, INC., et
al.
Defendant(s).

                                                     /

                             Consent to Jurisdiction by a Magistrate Judge
                             and Designation of the Normal Appeal Route

      Pursuant to Fed. R. Civ. P 73(b), as counsel for the party (parties) identified below, I consent to
have a United States Magistrate Judge conduct any and all proceedings in this case, including entry of
orders on dispositive motions, trial, and entry of final judgment. I understand that withholding consent
will not result in any adverse consequences. Pursuant to Fed. R. Civ. P. 73(c), I agree that an appeal
from a judgment entered at a Magistrate Judge's direction may be taken to the court of appeals as
would any other appeal from a district court judgment.

DATED:


                      Signature:

          Name and OSB ID:

                E−mail Address:

                    Firm Name:

                Mailing Address:

                 City, State, Zip:

         Parties Represented:



cc: Counsel of Record




                                                                                                            Page 75
          Case 3:16-cv-02065-YY *SEALED* Document 3 Filed 10/27/16 Page 7 of 7
             Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 76 of 100




                                         U.S. District Court − Oregon
                                   Civil Case Management Time Schedules

 Local Rule        Event or Requirement                    Time Frame                           Comment

                Discovery and Pretrial           Issued by the Clerk's Office at      Required to be served on all
LR 16−1(d)      Scheduling Order (with           new civil case initiation, along     parties by the filing party (See
                attachments)                     with the summonses                   LR 3−5)
                                                 Within 30 days of a defendant
                Initial Conference for
LR 26−1                                          filing a responsive pleading or a Held between the parties
                Discovery Planning               motion under Fed. R. Civ. P. 12
                                                 Scheduled by the assigned            Affirmative duty on all
                                                 judge after the required LR          counsel to contact the
LR 16−2         Rule 16 Conference               26−1 initial discovery planning      assigned judge's courtroom
                                                 conference                           deputy (See LR 16−2(a))
                                                                                      Parties must confer with other
                                                 Within 120 days from the date
                ADR Conference                                                        attorneys and unrepresented
LR 16−4(c)                                       the Discovery and Pretrial
                Requirements                                                          parties to discuss ADR
                                                 Scheduling Order is issued           options
                                                 Within 120 days from the date        Required in cases assigned to
                Joint Status Report              the Discovery and Pretrial           Judge Jones
                                                 Scheduling Order is issued
                                                 Unless otherwise ordered by the Discovery deadlines are set
                                                 Court, within 120 days from the forth in the Discovery and
LR 16−2(e)      Completion of Discovery          date the Discovery and Pretrial Pretrial Scheduling Order
                                                 Scheduling Order is issued
                                                 Within 150 days from the date        The parties must file a Joint
LR 16−4(d)      Joint ADR Report                 the Discovery and Pretrial           ADR Report
                                                 Scheduling Order is issued
                                                 Unless otherwise modified            The Joint Proposed Pretrial
                                                 pursuant to LR 16−5(a), within       Order filing deadline is
LR 16−5         Joint Proposed Pretrial Order    150 days from the date the           established in the Discovery
                                                 Discovery and Pretrial               and Pretrial Scheduling Order
                                                 Scheduling Order is issued
                Notice to the Court that the                                          Plaintiff's attorney (or the pro
                                                 Within fourteen (14) days after
                Parties Are Unable to Select a                                        se plaintiff) is responsible for
LR                                               entry of a court order referring a
                Court−sponsored Mediator                                              notifying the assigned judge
16−4(f)(2)(B)                                    case for Court−sponsored
                from the Court's list of                                              who will then designate a
                                                 mediation
                mediators                                                             mediator
                                                 Not later than seven (7) days        Plaintiff's attorney (or the pro
LR 16−4(h)(1) Notification of Private ADR        after the conclusion of private      se plaintiff) is responsible for
              Results                            ADR proceedings                      notifying the court
                                                 Not later than seven (7) days        Court−sponsored mediator is
LR 16−4(h)(2) Report of Court−sponsored          following the conclusion of the      responsible for notifying the
              Mediator                           mediation if no settlement is        court
                                                 achieved




                                                                                                                 Page 76
  Case 3:16-cv-02065-YY *SEALED* Document 4 Filed 10/27/16 Page 1 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 77 of 100

                                                                                .-n \_,,,.r 'lb-   1s1':\l)llSDC·ORP
                                                                           RECVDc 1 -""           ' ·- ~




                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF OREGON
                                                                  Civil Case No. :3    :/ 6~ f?1!" l?JtD - Y/
 United States of America ex rel Carrie Eborall
                ==========-------APl'LICATION FOR SPECIAL
         PlaiITTiff(s),                ADfV!J.SSION=PKUHJICl7ICE _ _ _ _ _ _ ___,
v.
 Universal Health Services, Inc., et al
                                                                  [FILED IN CAMERA AND
         Defenclant(s).                                            UNDER SEAL]



         Attorney Brian H. Mahany                                 requests special admission pro hac vice in
the abovc-Captioue~ case.


Certification of Attorney SceldngPro Hae Vice Admission: l have read and understand the
requirements of LR 83-3, and certify that the following information is correct:

         (1)      PERSONALDATA:
                  Name: Mahany                       Brian                            H.
                          (!..ast Name)               (Fir.st Name)                        (Ml)            (Suj]ix)
                  Firm or Business Affiliation: Mahany Law
                                                ---'-------------------
                  Mailing Address:          8112 West Bluemound Road, Suite 101
                  City: Wauwatosa                            State: WI                      Zip: _5_32_1_3_ __
                 Phone Number: 414-258-2375                           Fax Number: 414-777-0776
                 Business E-mail Address: _b_rla_n--'@=---m_ah_a_n..:.y_la_w_.c_o_m_ _ _ _ _ _ _ _ _ _ _ __




U.S. District Court-Oregon                                   Application for Special Admission -Pro Hae Vice
Revised Mal'Ch 28, 2016                                                                           Page I of3

                                                                                                                       Page 77
  Case 3:16-cv-02065-YY *SEALED* Document 4 Filed 10/27/16 Page 2 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 78 of 100




        (2)     BAR ADMISSIONS INFORMATION:
                (a)       State bar admission(s), date(s) of admission, and bar ID munber(s):
                         Please see attached list




                (b)     Other federal court admission(s), date(s) of admission, and bar ID number(s):
                         Please see attached list




          )     CERTIFICA.lIONUFlJISCIPLI~AltYA-CTIONS:

                (a)   121 I am not now, nor have I ever been subject to any disciplinary action by any
                         state or federal bar association; or

                (b)   0 I am now or have been subject to disciplinary action from a state or federal bar
                         association. (See attached letter of explanation.)

        (4)     CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                Per LR 83-3(a)(3), I have prnfessional liability insurance, or financial responsibility
                equivalent to liability insurance,.that meets the insurance requirements of the Orego11
                State Bar for attorneys practicing in this District, and that will apply and remain in force
                for the duration of the case, including any appeal proceedings.

        (5)     REPRESENTATION STATEMENT:
                I am representing the following parly(s) in this case:
                Relator Carrie Ehorall




U.S. District Court-Oregon                                 Application for S1iecial Admission "Pro Hae Vice
Revised March 28, 2016                                                                             Page 2 of3

                                                                                                               Page 78
  Case 3:16-cv-02065-YY *SEALED* Document 4 Filed 10/27/16 Page 3 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 79 of 100




         (6)      CM/ECF REGISTRATION:
                  Concurrent with approval of U1is pro hac vice application, I acknowledge that I will
                  become a registered user of the Court's Case Management/Electronic Case File system.
                  (See the Coml's website at ord.uscomts.gov), and I consent to electronic service pursuant
                  to Fed. R. Civ. P S(b)(2)(E) and the Local Rules of the District of Oregon.

        DATED this _2_6_ _ _ day of October                     2016




                                                              Brian H. Mahany
                                                              (Typed Name)

CERTIFICATION OF ASSOCIATED LOCAL COUNSEL:
I certify that I am a member in good standing of the bar of this Court, that I hi)Y~ erstand the
requirements of LR 83-3, and that I will serve as designated local counse · this particu         '#)
        DATED this 26              day of October                                                L-----
                                                              (Sfg11ature ofLocal OJ1mse1)

Name: Garrett                                       Russell                                  D
                ·------------
        (Last Name)
                                -------------
                            {Fil'JtName)
                                              - - - - (St(jfi:o:)
                                            (Ml)
                                                      --
Oregon Stale Bar Number: _8_8_2_11_1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Firm or Business Affiliation: Jordan Ramis PC
                              --------------------------
Mailing Address: 2 Cenlerpointe Drive, 6th Floor
City: Lake Oswego                                              State: _o_R____ Zip: 97035
Phone Number: 360-567-3911                          Business E-mail Address: russ.garrett@jordanramis.co
                  -----------

                                            COURT ACTION


                         D Application approved subject to payment of fees.
                         D Application denied.

        DATED this ____ day of ______ - - - - - -



                                                          Judge




U.S. District Court-Oregon                                     Applicntlou fol' Special Admission - Pro Hae Vice
Revised March 28, 2016                                                                                Page 3 of3
                                                                                                               Page 79
                 Case 3:16-cv-02065-YY *SEALED* Document 4 Filed 10/27/16 Page 4 of 4
                    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 80 of 100




                The following list is in response to the bar admissions info1mation required in the Motion for
                Admission Pro Hae Vice.
                Brian H. Mahany is admitted in the following Coutts:
                State Coul'ts:

                Wisconsin -Admitted April 3, 2009 (No. 1065623)
                Maine - Admitted March 20, 1985 (No. 003269)


                U.S. Courts:
_ _ _ _ ___cE"'a!ilst=ern_llisjrict of ~dmifled Trunmcy_10,-2ililll(No    1065621_,___ _ _ _ _ _ _ _ _ _ _ _ _~

                Western District of WI-Admitted December 23, 2011 (No. 1065623)
                Eastern District of TX-Admitted November 4, 2013 (No. 1065623)
               Eastern District of Ml-Admitted August 6, 2015
               Northern District of IN - Admitted October 10, 2007
               Northern District of IL - Admitted Februru·y 7, 2012
               United States Court of Appeals for the Anned Porces -Admitted Augi1st 29, 1986
               United States Tax Court-· July 8, 1986




                                                                                                                 Page 80
  Case 3:16-cv-02065-YY *SEALED* Document 5 Filed 11/01/16 Page 1 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 81 of 100

                                                                                .-n \_,,,.r 'lb-   1s1':\l)llSDC·ORP
                                                                           RECVDc 1 -""           ' ·- ~




                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF OREGON
                                                                  Civil Case No. :3    :/ 6~ f?1!" l?JtD - Y/
 United States of America ex rel Carrie Eborall
                ==========-------APl'LICATION FOR SPECIAL
         PlaiITTiff(s),                ADfV!J.SSION=PKUHJICl7ICE _ _ _ _ _ _ ___,
v.
 Universal Health Services, Inc., et al
                                                                  [FILED IN CAMERA AND
         Defenclant(s).                                            UNDER SEAL]



         Attorney Brian H. Mahany                                 requests special admission pro hac vice in
the abovc-Captioue~ case.


Certification of Attorney SceldngPro Hae Vice Admission: l have read and understand the
requirements of LR 83-3, and certify that the following information is correct:

         (1)      PERSONALDATA:
                  Name: Mahany                       Brian                            H.
                          (!..ast Name)               (Fir.st Name)                        (Ml)            (Suj]ix)
                  Firm or Business Affiliation: Mahany Law
                                                ---'-------------------
                  Mailing Address:          8112 West Bluemound Road, Suite 101
                  City: Wauwatosa                            State: WI                      Zip: _5_32_1_3_ __
                 Phone Number: 414-258-2375                           Fax Number: 414-777-0776
                 Business E-mail Address: _b_rla_n--'@=---m_ah_a_n..:.y_la_w_.c_o_m_ _ _ _ _ _ _ _ _ _ _ __




U.S. District Court-Oregon                                   Application for Special Admission -Pro Hae Vice
Revised Mal'Ch 28, 2016                                                                           Page I of3

                                                                                                                       Page 81
  Case 3:16-cv-02065-YY *SEALED* Document 5 Filed 11/01/16 Page 2 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 82 of 100




        (2)     BAR ADMISSIONS INFORMATION:
                (a)       State bar admission(s), date(s) of admission, and bar ID munber(s):
                         Please see attached list




                (b)     Other federal court admission(s), date(s) of admission, and bar ID number(s):
                         Please see attached list




          )     CERTIFICA.lIONUFlJISCIPLI~AltYA-CTIONS:

                (a)   121 I am not now, nor have I ever been subject to any disciplinary action by any
                         state or federal bar association; or

                (b)   0 I am now or have been subject to disciplinary action from a state or federal bar
                         association. (See attached letter of explanation.)

        (4)     CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                Per LR 83-3(a)(3), I have prnfessional liability insurance, or financial responsibility
                equivalent to liability insurance,.that meets the insurance requirements of the Orego11
                State Bar for attorneys practicing in this District, and that will apply and remain in force
                for the duration of the case, including any appeal proceedings.

        (5)     REPRESENTATION STATEMENT:
                I am representing the following parly(s) in this case:
                Relator Carrie Ehorall




U.S. District Court-Oregon                                 Application for S1iecial Admission "Pro Hae Vice
Revised March 28, 2016                                                                             Page 2 of3

                                                                                                               Page 82
  Case 3:16-cv-02065-YY *SEALED* Document 5 Filed 11/01/16 Page 3 of 4
     Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 83 of 100




         (6)      CM/ECF REGISTRATION:
                  Concurrent with approval of U1is pro hac vice application, I acknowledge that I will
                  become a registered user of the Court's Case Management/Electronic Case File system.
                  (See the Coml's website at ord.uscomts.gov), and I consent to electronic service pursuant
                  to Fed. R. Civ. P S(b)(2)(E) and the Local Rules of the District of Oregon.

        DATED this _2_6_ _ _ day of October                     2016




                                                              Brian H. Mahany
                                                              (Typed Name)

CERTIFICATION OF ASSOCIATED LOCAL COUNSEL:
I certify that I am a member in good standing of the bar of this Court, that I hi)Y~ erstand the
requirements of LR 83-3, and that I will serve as designated local counse · this particu         '#)
        DATED this 26              day of October                                                L-----
                                                              (Sfg11ature ofLocal OJ1mse1)

Name: Garrett                                       Russell                                  D
                ·------------
        (Last Name)
                                -------------
                            {Fil'JtName)
                                              - - - - (St(jfi:o:)
                                            (Ml)
                                                      --
Oregon Stale Bar Number: _8_8_2_11_1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Firm or Business Affiliation: Jordan Ramis PC
                              --------------------------
Mailing Address: 2 Cenlerpointe Drive, 6th Floor
City: Lake Oswego                                              State: _o_R____ Zip: 97035
Phone Number: 360-567-3911                          Business E-mail Address: russ.garrett@jordanramis.co
                  -----------

                                            COURT ACTION


                         X Application approved subject to payment of fees.
                         D
                         D Application denied.

                    1
        DATED this ____        November
                        day of ______   2016
                                        - -----


                                                              /s/ Youlee Yim You
                                                          Judge




U.S. District Court-Oregon                                     Applicntlou fol' Special Admission - Pro Hae Vice
Revised March 28, 2016                                                                                Page 3 of3
                                                                                                               Page 83
                 Case 3:16-cv-02065-YY *SEALED* Document 5 Filed 11/01/16 Page 4 of 4
                    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 84 of 100




                The following list is in response to the bar admissions info1mation required in the Motion for
                Admission Pro Hae Vice.
                Brian H. Mahany is admitted in the following Coutts:
                State Coul'ts:

                Wisconsin -Admitted April 3, 2009 (No. 1065623)
                Maine - Admitted March 20, 1985 (No. 003269)


                U.S. Courts:
_ _ _ _ ___cE"'a!ilst=ern_llisjrict of ~dmifled Trunmcy_10,-2ililll(No    1065621_,___ _ _ _ _ _ _ _ _ _ _ _ _~

                Western District of WI-Admitted December 23, 2011 (No. 1065623)
                Eastern District of TX-Admitted November 4, 2013 (No. 1065623)
               Eastern District of Ml-Admitted August 6, 2015
               Northern District of IN - Admitted October 10, 2007
               Northern District of IL - Admitted Februru·y 7, 2012
               United States Court of Appeals for the Anned Porces -Admitted Augi1st 29, 1986
               United States Tax Court-· July 8, 1986




                                                                                                                 Page 84
  CaseCase 2:17-cv-03249-AB
       3:16-cv-2065   NEF for Document 1 6
                              Docket Entry FiledFiled
                                                 07/19/17   Page 85Page
                                                      11/01/2016    of 100
                                                                         1 of 1


MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:5660245@ord.uscourts.gov
Subject:Activity in Case 16−2065 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 11/1/2016 at 10:39 AM PDT and filed on 11/1/2016

Case Name:       United States of America et al v. Universal Health Services, Inc. et al
Case Number:     3:16−cv−02065−YY *SEALED*
Filer:
Document Number: 6(No document attached)
Docket Text:
 Notification of CM/ECF Account for Brian H. Mahany (Pro Hac Vice admission). Your login
is: bhmahany. Go to the CM/ECF login page to set your password. (ecp)


3:16−cv−02065−YY *SEALED* No electronic public notice will be sent because the case/entry is sealed.




                                                                                             Page 85
  CaseCase 2:17-cv-03249-AB
       3:16-cv-2065   NEF for Document 1 7
                              Docket Entry FiledFiled
                                                 07/19/17   Page 86Page
                                                      11/03/2016    of 100
                                                                         1 of 1


MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:5662764@ord.uscourts.gov
Subject:Activity in Case 16−2065 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 11/3/2016 at 10:27 AM PDT and filed on 11/3/2016

Case Name:       United States of America et al v. Universal Health Services, Inc. et al
Case Number:     3:16−cv−02065−YY *SEALED*
Filer:
Document Number: 7(No document attached)
Docket Text:
 Clerk's Notice of Mailing regarding Notification of New CM/ECF Account, [6] emailed to
attorney Brian Mahany. Order on Application for Special Admission Pro Hac Vice, [5] emailed
to all parties. (ecp)


3:16−cv−02065−YY *SEALED* No electronic public notice will be sent because the case/entry is sealed.




                                                                                             Page 86
  CaseCase 2:17-cv-03249-AB
       3:16-cv-2065   NEF for Document 1 8
                              Docket Entry FiledFiled
                                                 07/19/17   Page 87Page
                                                      11/04/2016    of 100
                                                                         1 of 1


MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:5663870@ord.uscourts.gov
Subject:Activity in Case 16−2065 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 11/4/2016 at 7:50 AM PDT and filed on 11/4/2016

Case Name:       United States of America et al v. Universal Health Services, Inc. et al
Case Number:     3:16−cv−02065−YY *SEALED*
Filer:
Document Number: 8(No document attached)
Docket Text:
 ORDER by Magistrate Judge Youlee Yim You: GRANTING Motion to Seal the Case (#[2]).
(eo)


3:16−cv−02065−YY *SEALED* No electronic public notice will be sent because the case/entry is sealed.




                                                                                             Page 87
  CaseCase 2:17-cv-03249-AB
       3:16-cv-2065   NEF for Document 1 9
                              Docket Entry FiledFiled
                                                 07/19/17   Page 88Page
                                                      11/04/2016    of 100
                                                                         1 of 1


MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:5663874@ord.uscourts.gov
Subject:Activity in Case 16−2065 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 11/4/2016 at 7:53 AM PDT and filed on 11/4/2016

Case Name:       United States of America et al v. Universal Health Services, Inc. et al
Case Number:     3:16−cv−02065−YY *SEALED*
Filer:
Document Number: 9(No document attached)
Docket Text:
 Clerk's Notice of E−Mail service: Notice of the order granting motion to seal case (#[8]) was
e−mailed to plaintiff's counsel. (eo)


3:16−cv−02065−YY *SEALED* No electronic public notice will be sent because the case/entry is sealed.




                                                                                             Page 88
  CaseCase  2:17-cv-03249-AB
       3:16-cv-2065            Document
                       NEF for Docket    1 12
                                      Entry FiledFiled
                                                 07/19/17   Page 89 Page
                                                       01/10/2017   of 1001 of 1


MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants: Mary Anne Anderson (mary_anne_anderson@ord.uscourts.gov)
−−No Notice Sent:

Message−Id:5720499@ord.uscourts.gov
Subject:Activity in Case 16−2065 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 1/10/2017 at 12:08 PM PST and filed on 1/10/2017

Case Name:       United States of America et al v. Universal Health Services, Inc. et al
Case Number:     3:16−cv−02065−YY *SEALED*
Filer:
Document Number: 12(No document attached)
Docket Text:
 Clerk's Notice of emailing to Alexis A. Lien regarding Exparte, Order on motion for
extension of time, Order on Motion − Miscellaneous[11]. (pvh)


3:16−cv−02065−YY *SEALED* No electronic public notice will be sent because the case/entry is sealed.




                                                                                             Page 89
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 1 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 90 of 100




BILLY J. WILLIAMS, OSB #901366
United States Attorney
District of Oregon
ALEXIS A. LIEN, OSB #110569
alexis.lien@usdoj.gov
Assistant United States Attorney
United States Attorney's Office
District of Oregon
1000 S.W. Third Ave., Suite 600
Portland, Oregon 97204-2902
Telephone: (503) 727-1000

Attorney for Plaintiff United States ofAmerica




                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON



 UNITED STATES OF AMERICA, ex rel.                    Case No.: 3:16-cv-02065-YY
 CARRIE EBORALL,

                    Plaintiff,                        UNITED STATES' UNOPPOSED EX
                                                      PARTE MOTION TO TRANSFER
           V.                                         VENUE

 UNIVERSAL HEALTH SERVICES, INC.;
 CEDAR HILLS HOSPITAL; and UBH OF                     FILED UNDER SEAL
 OREGON, LLC,                                         Pursuant to the False Claims Act,
                                                      31 U.S.C. §§ 3730(b)(2) AND (3)]
                    Defendants.




       The United States respectfully applies to the Court to transfer this action to the United

States District Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. § 1404(a).

The transfer will enable the United States to consolidate this matter with other under seal qui tam

actions pending in that district that contain overlapping and/or related allegations against Universal



Page 1 -        United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                  Page 90
     Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 2 of 9
        Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 91 of 100




Health Services, Inc. and related entities. The United States also respectfully requests that, in its

transfer order, the Court suggest to the transferee Court that this action be deemed related to United

States, et al. ex rel. Jain v. UHS, et al., Civil Action No. 13-6499 (E.D. Pa.), and be subject to such

seal and intervention deadline orders as are in place in that related case.

       Relator, through counsel, consents to the relief sought by this motion.

            MEMORANDUM IN SUPPORT OF UNITED STATES' UNOPPOSED
                  EX PARTE MOTION TO TRANSFER VENUE

I.     BACKGROUND

       A.      UHS Investigation

       UHS is a hospital management company headquartered in King of Prussia, Pennsylvania.

UHS is the corporate parent and, through its subsidiaries, owns and operates 225 facilities in 3 7

states and the District of Columbia.

       The United States and certain states' Attorneys General have been investigating more than

a dozen matters involving UHS and its facilities or related entities. The United States is currently

investigating twelve pending qui tam complaints that have named UHS and its facilities or related

entities as defendants. In addition to this Court, cases are pending in the United States District

Courts for the Eastern District of Pennsylvania, the Middle District of Florida, and the Eastern

District of Virginia.   Cases filed in the Middle District of Georgia, the Northern District of

Georgia, the District of Utah, the Southern District of Texas, and the Northern District of Illinois

have already been transferred to the Eastern District of Pennsylvania; in total, there are currently

nine pending under seal qui tam actions in that district. In addition to these qui tam complaints,

the United States is conducting investigations into UHS facilities in Illinois, North Carolina,

Virginia, Florida, and Pennsylvania. These qui tam actions and investigations contain related

and/or overlapping allegations against UHS, as the corporate parent, and certain related entities or



Page 2 -    United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                   Page 91
      Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 3 of 9
         Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 92 of 100




 facilities, including the appropriateness of admissions, the quality of care, and billing for services

not provided or not medically necessary.

        In the interest of judicial economy, the United States seeks to consolidate the various UHS

qui tam actions in the United States District Court for the Eastern District of Pennsylvania, the

district in which UHS is headquartered. Two of the twelve qui tam actions were filed in the

United States District Court for the Eastern District of Pennsylvania. In addition, seven other qui

tam actions have already been transferred to the United States District Court for the Eastern District

of Pennsylvania

        B.      Relator's Allegations

        Relator filed this qui tam action pursuant to the False Claims Act, 31 U.S.C. §§ 3729-3733.

Relator initiated this action by serving a copy of the complaint and written disclosure of evidence

on the United States on November 3, 2016.

        Relator alleges that Defendants knowingly (1) presented or caused to be presented false

claims for payment to the United States; and (2) made or caused to be made false statements to get

those false claims paid. More specifically, Relator alleges that Defendants have violated the False

Claims Act by fraudulently billing Medicare and other federal payors for inpatient psychiatric

services, including hospital services that were not medically necessary in type, scope, and/or

duration.

        The United States continues to investigate this case in conjunction with the other qui tam

actions and investigations. The allegations made by Relator overlap substantially with claims

made in these other qui tam actions and investigations.

II.     ARGUMENT

        For the reasons explained below, the Court should transfer this matter to the United States




Page 3 -     United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                   Page 92
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 4 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 93 of 100




District Court for the Eastern District of Pennsylvania.

          A district court may, "[ f]or the convenience of parties and witnesses, in the interest of

justice, ... transfer any civil action to any other district or division where it might have been

brought[.]" 28 U.S.C. § 1404(a).

          In deciding whether to transfer venue, courts consider the following factors:

               (1) the plaintiffs choice of forum, (2) the parties' contacts with the forum, (3)
               convenience to the parties, (4) convenience to the witnesses, (5) availability of
               compulsory process for non-party witnesses, (6) ease of access to evidence, (7)
               differences in the costs of litigation in the two forums, (8) familiarity of each
               forum with the applicable law, (9) local interest in the controversy, and (10) the
               relative court congestion and time of trial in each forum.

Pulse Health LLC v. Akers Biosciences, Inc., No. 3:16-CV-01919-HZ, 2017 WL 1371272, at *17

(D. Or. Apr. 14, 2017) (quoting Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th Cir.

2000)).

          As a preliminary matter, this case could have been brought in the United States District

Court for the Eastern District of Pennsylvania.          Defendant UHS is headquartered there and

transacts business within the district.     A civil action under the False Claims Act may be brought

"in any judicial district in which the defendant, or in the case of multiple defendants, any one

defendant can be found, resides, [or] transacts business[.]"       31 U.S.C. § 3732(a).

          Similarly, all of the following factors either weigh strongly in favor of transferring this case

to the United States District Court for the Eastern District of Pennsylvania or are neutral.

          1)      Plaintiffs' choice offorum.     In qui tam actions, the United States is the real party

in interest. See US. ex rel. Eisenstein v. City of N. Y, N. Y, 556 U.S. 928, 930 (2009) ("[T]he

United States is a 'real party in interest' in a case brought under the [False Claims Act][.]") (citation

omitted). "Generally, this factor is given great weight." Beverage Mgmt. Sys., Inc. v. Ott, No.

3:12-CV-2126-SI, 2013 WL 1296083, at *8 (D. Or. Mar. 26, 2013) (citing Lou v. Belzberg, 834



Page 4 -       United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                      Page 93
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 5 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 94 of 100




F.2d 730, 739 (9th Cir. 1987)). Accordingly, this factor strongly supports the United States'

request to transfer this matter. Additionally, Relator has consented to the requested transfer of

venue.

         2)      Parties' contacts with the forum. Cedar Hills Hospital and UHB of Oregon, LLC

are subsidiaries of Defendant UHS, and UHS's headquarters is located in the Eastern District of

Pennsylvania.      Accordingly, Defendants have strong contacts with the Eastern District of

Pennsylvania. At the very least, this factor is neutral. See Eason v. Elmer's Rests., Inc., No.

3:15-CV-02335-SI, 2016 WL 1029482, at *4 (D. Or. Mar. 15, 2016) ("Because the parties have

contacts with both the forum and the state to which Karsan and Lewis seek to transfer the case, the

Court considers this factor neutral.").

         3)      Convenience of the parties. The convenience of the parties supports transfer of

this matter. Defendant UHS 's headquarters is located in the district to which the transfer is being

sought. Relator consents to the transfer. A transfer would enable the United States to further

coordinate its investigations of UHS by consolidating pending qui tam cases in one district. The

consolidation would reduce the burden on-and thereby serve the convenience of-all parties.

         4)      Convenience ofthe witnesses. The convenience of the witnesses supports transfer

in the present case. The majority of UHS' corporate witnesses are located in the Eastern District

of Pennsylvania, where UHS is headquartered.         The remaining witnesses, including facility

employees, are most likely located throughout the United States, including the 37 states where

UHS has facilities.    Thus, because of the location of the corporate witnesses, on the whole this

factor supports transferring this matter to the United States District Court for the Eastern District

of Pennsylvania.

         5)      Availability of compulsory process for non-party witnesses. This factor supports




Page 5 -      United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                 Page 94
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 6 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 95 of 100




transfer because many of the corporate management witnesses are located in the Eastern District

of Pennsylvania. Moreover, the False Claims Act provides nationwide service of process, 31

U.S.C. § 3731(a), meaning that witnesses outside of the Eastern District of Pennsylvania are also

subject to the federal subpoena power.

       6)      Ease of access to evidence. This factor supports transfer because many of the

relevant documents and other sources of proof-including many of the witnesses employed by

Defendant UHS-are located in the Eastern District of Pennsylvania.

       7)      Differences in the costs of litigation.     Transferring this matter to the Eastern

District of Pennsylvania will reduce the costs of litigation.   Specifically, the transfer will reduce

the cost of transporting witnesses and records from UHS' headquarters. See, e.g., In re Choice

Hotels, Inc. Sec. Litig., No. CIV. 07-CV-00734-REB, 2008 WL 793621, at *3 (D. Colo. Mar. 24,

2008) ("[T]he cost for transporting witnesses and records will be reduced, at least for the

defendants, if this case is heard in Maryland.     This factor weighs in favor of transfer.").      A

transfer would also help preserve UHS' resources by relocating this matter to UHS' home district

and avoiding the costs of litigating in multiple forums. Moreover, a transfer would enable the

United States to consolidate this matter with other qui tam matters pending in the Eastern District

of Pennsylvania, streamlining its investigation and reducing the burden on, and cost to, all parties.

       8)      Forum's familiarity with governing law. This factor is neutral since both this

Court and the United States District Court for the Eastern District of Pennsylvania are familiar

with the statute at issue-the False Claims Act. In addition, as noted, nine other qui tam actions

involving UHS and its facilities are already pending in the United States District Court for the

Eastern District of Pennsylvania.

       9)      Local interest in the controversy. Because Defendant UHS is headquartered in




Page 6 -    United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                  Page 95
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 7 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 96 of 100




the Eastern District of Pennsylvania, and certain of the alleged facts originated from that district,

this factor weighs in favor of transfer. See, e.g., Holliday v. Lifestyle Lift, Inc., No. C 09-4995

RS, 2010 WL 3910143, at *8 (N.D. Cal. Oct. 5, 2010) ("Michigan has an interest insofar as [the

defendant's] corporate headquarters is located within that State."). In addition, as noted, nine

other qui tam actions involving UHS and its facilities are already pending in the United States

District Court for the Eastern District of Pennsylvania.

       10)      Relative court congestion and time of trial. According to recent statistics, civil

cases in the District of Oregon and the Eastern District of Pennsylvania move to trial at

approximately the same speed (20.3 months in the Eastern District of Pennsylvania and 19.3

months in the District ofOregon). 1 See Nike, Inc. v. Lombardi, 732 F. Supp. 2d 1146, 1156, 1159

(D. Or. 2010) (observing that a difference in median time from the filing of the case to trial of21.6

months compared to 28.1 months "show[s] about an equal timeline"). By other measures, the

Eastern District of Pennsylvania is less congested than the District of Oregon. According to the

most recent statistics, the median time from filing to disposition for civil cases is 5.5 months in the

Eastern District of Pennsylvania and 10.3 months in Oregon; the number of pending cases per

judge is 371 in the Eastern District of Pennsylvania and 517 in Oregon; and the number of weighted

filings per judge is 310 in the Eastern District of Pennsylvania and 4 72 in Oregon. 2 This factor

therefore weighs in favor of transfer.

       Other practical considerations.      The United States is seeking a transfer of this case in



1
  See United States District Courts - National Judicial Caseload Profile, available at
http://www.uscourts.gov/sites/default/files/data_tables/fcms_na_ distprofile 1231.2016.pdf, at 16,
74.

2
  See United States District Courts - National Judicial Caseload Profile, available at
http://www.uscourts.gov/sites/default/files/data_tables/fcms_ na_ distprofile 1231.2016.pdf, at 16,
74.


Page 7 -     United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                   Page 96
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 8 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 97 of 100




order to consolidate this case with nine other qui tam cases now pending in the United States

District Court for the Eastern District of Pennsylvania. The United States intends to transfer all

pending actions to that district as well. These cases all contain related or overlapping factual

allegations and legal theories. Absent transfer and consolidation, multiple federal courts will

handle cases with overlapping allegations and defendants, leading to potentially inconsistent

judgments.     "[T]he compelling public interest in avoiding duplicative proceedings (and

potentially inconsistent judgments) warrants transfer of venue under these circumstances."

Reiffin v. Microsoft Corp., 104 F. Supp. 2d 48, 58 (D.D.C. 2000); see also Cont'! Grain Co. v. The

FBL-585, 364 U.S. 19, 26 (1960) ("To permit a situation in which two cases involving precisely

the same issues are simultaneously pending in different District Courts leads to the wastefulness

of time, energy and money that s 1404(a) was designed to prevent.")

       Overall, the weight of the factors support transferring this matter to the United States

District Court for the Eastern District of Pennsylvania.

                                         CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this action be

transferred to the United States District Court for the Eastern District of Pennsylvania. The

United States further requests that the Court, in its transfer order, suggest to the transferee Court

that this action may be related to the qui tam action captioned United States, et al. ex rel. Jain v.

UHS, et al., Civil Action No. 13-6499 (E.D. Pa.), and be subject to such seal and intervention

deadline orders as are in place in that related case. A proposed order is enclosed herewith.




Page 8 -     United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                                                 Page 97
    Case 3:16-cv-02065-YY *SEALED* Document 13 Filed 06/30/17 Page 9 of 9
       Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 98 of 100




                                  Respectfully submitted,

                                  CHAD A. READLER
                                  Acting Assistant Attorney General

                                  BILLY J. WILLIAMS, OSB #901366
                                  United States Attorney
                                  District of Oregon

                                    \'U~             ci.AvN
                                  ALEXIS:LJEN, OSB #110569
                                  alexis.lien@usdoj.gov
                                  Assistant United States Attorney
                                  United States Attorney's Office
                                  District of Oregon
                                  1000 S.W. Third Ave., Suite 600
                                  Portland, Oregon 97204-2902
                                  Telephone: (503) 727-1000

                                  MICHAEL D. GRANSTON
                                  ALLISON CENDALI
                                  MICHAEL KASS
                                  Civil Division
                                  U.S. Department of Justice
                                  601 D Street, N.W., Room 10318
                                  Washington, D.C. 20004
                                  Tel: (202) 305-2068
                                  Fax: (202) 616-4286
                                  Michael.d.kass@usdoj.gov

                                  Counsel for the United States of America




Page 9 -   United States' Unopposed Ex Parte Motion to Transfer Venue
                                                                             Page 98
   Case 3:16-cv-02065-YY *SEALED* Document 14 Filed 07/05/17 Page 1 of 2
      Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 99 of 100




                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON



 UNITED STATES OF AMERICA, ex rel.                    Case No.: 3:16-cv-02065-YY
 CARRIE EBORALL,

                    Plaintiff,                        ORDER TRANSFERRING VENUE

           v.
                                                      FILED UNDER SEAL
 UNIVERSAL HEALTH SERVICES, INC.;                     Pursuant to the False Claims Act,
 CEDAR HILLS HOSPITAL; and UBH OF                     31 U.S.C. §§ 3730(b)(2) AND (3)
 OREGON, LLC,

                    Defendants.

        Upon consideration of the United States' unopposed ex parte motion to transfer venue, and

the United States having shown good cause for the requested transfer,

       IT IS HEREBY ORDERED that this case be transferred to the United States District

Court for the Eastern District of Pennsylvania; and

       IT IS FURTHER ORDERED that the Clerk of this Court, in the documents transferring

this case to the United States District Court for the Eastern District of Pe1msylvania, note that this

action may be related to the qui tam action captioned United States, et al. ex rel. Jain v. UHS, et

al., Civil Action No. 13-6499 (E.D. Pa.), and be subject to such seal and intervention deadline

orders as are in place in that related case; and



Page 1 -        Order Transferring Venue
                                                                                                  Page 99
 Case 3:16-cv-02065-YY *SEALED* Document 14 Filed 07/05/17 Page 2 of 2
    Case 2:17-cv-03249-AB Document 1 Filed 07/19/17 Page 100 of 100




        IT IS FURTHER ORDERED that the complaint, any amended complaints, and all other

filings shall remain under seal during and after the transfer, until further ordered by the United

States District Court for the Eastern District of Pennsylvania, except insofar as that seal has been

partially lifted by the Court.

        IT IS SO ORDERED, this (")'.:.-       day of   ~i:r         ,2017.

                                                        ~JJ/~
                                                       YOULEE YIMYOU
                                                       UNITED STATES MAGISTRATE JUDGE

Respectfully submitted,

BILL    J. WILLIAMS, OSB #901366




CHAD A. READLER
Acting Assistant Attorney General

MICHAEL D. GRANSTON
ALLISON CENDALI
MICHAEL KASS
Civil Division
U.S. Department of Justice
601 D Street, N.W., Room 10318
Washington, D.C. 20004
Tel: (202) 305-2068
Fax: (202) 616-4286
Michael.d.kass@usdoj.gov

Counsel for the United States of America




Page 2 -   Order Transferring Venue

                                                                                                Page 100
